Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF OREGON

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Saturno Design, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  506 SW Sixth Avenue, Suite 600                                  P.O. Box 11
                                  Portland, OR 97204                                              Canton, MA 02021
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Multnomah                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.SaturnoDesign.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                            Case 23-31455-dwh11                   Doc 1        Filed 07/03/23
Debtor    Saturno Design, LLC                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                7372

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                               Case 23-31455-dwh11                     Doc 1         Filed 07/03/23
Debtor    Saturno Design, LLC                                                                           Case number (if known)
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                            No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                           5001-10,000                               50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
                                                  Case 23-31455-dwh11                     Doc 1        Filed 07/03/23
Debtor   Saturno Design, LLC                                                        Case number (if known)
         Name

                            $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                            $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                            $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
                                    Case 23-31455-dwh11                Doc 1       Filed 07/03/23
Debtor    Saturno Design, LLC                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      07/03/2023
                                                  MM / DD / YYYY


                             X                                                                            Rodolfo (Rudy) Bozas
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Partner




18. Signature of attorney    X                                                                             Date   07/03/2023
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Tara J. Schleicher 954021
                                 Printed name

                                 Foster Garvey P.C.
                                 Firm name

                                 121 SW Morrison St, Ste 1100
                                 Portland, OR 97204
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     503-228-3939                  Email address      tara.schleicher@foster.com

                                 954021 OR
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                                           Case 23-31455-dwh11                      Doc 1        Filed 07/03/23
B2030 (Form 2030) (12/15)
                                                      United States Bankruptcy Court
                                                                     District of Oregon
 In re      Saturno Design, LLC                                                                              Case No.
                                                                             Debtor(s)                       Chapter      11

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                 $                60,000.00
             Prior to the filing of this statement I have received                                       $                60,000.00
             Balance Due                                                                                 $                       0.00

2.    The source of the compensation paid to me was:

                Debtor         Other (specify):

3.    The source of compensation to be paid to me is:

                Debtor         Other (specify):

4.    I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.    In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d.    [Other provisions as needed]


6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
       *Foster Garvey PC has a retainer balance of $11,390 in trust. It has a balance owing for pre-petition services rendered to Debtor of $9,500.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     07/03/2023
     Date                                                                   Tara J. Schleicher 954021
                                                                            Signature of Attorney
                                                                            Foster Garvey P.C.
                                                                            121 SW Morrison St, Ste 1100
                                                                            Portland, OR 97204
                                                                            503-228-3939
                                                                            tara.schleicher@foster.com
                                                                            Name of law firm




                                           Case 23-31455-dwh11                  Doc 1        Filed 07/03/23
Fill in this information to identify the case:

Debtor name         Saturno Design, LLC

United States Bankruptcy Court for the:     DISTRICT OF OREGON

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on      7/3/2023                         X
                                                             Signature of individual signing on behalf of debtor

                                                             Rodolfo (Rudy) Bozas
                                                             Printed name

                                                             Managing Partner
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




                                          Case 23-31455-dwh11                      Doc 1          Filed 07/03/23
Fill in this information to identify the case:
Debtor name Saturno Design, LLC
United States Bankruptcy Court for the: DISTRICT OF OREGON                                                                              Check if this is an

Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Bank of America,                                    Credit card debt                                                                                            $17,822.42
N.A.
PO Box 660441
Dallas, TX 75266
Greg Fredette and                                   Promissory Notes Disputed                                                                               $1,265,043.00
Allison                                             / Subject to     Subject to
Noah-Fredette                                       counterclaims    Setoff
c/o William A. Drew,
Attorney
707 SW Washington
Street, Suite 1500
Portland, OR 97205
Internal Revenue                                    Precautionary                                                                                                Unknown
Service
PO Box 7346
Philadelphia, PA
19101
NCC Group LLC                                       Professional                                                                                                  $2,145.00
16101 Emerald                                       Services
Estate Dr.
Suite 438
Weston, FL 33331
Oregon Attorney                                     Precautionary                                                                                                Unknown
General
Department of
Justice
1162 Court St NE
Salem, OR 97301
Oregon Department                                   Precautionary                                                                                                Unknown
of Revenue
955 Center St NE
Salem, OR 97301
Oregon Employment                                   Taxes/related             Disputed                                                                          $13,077.54
Department
PO Box 4395
Portland, OR 97208



Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




                                           Case 23-31455-dwh11                      Doc 1          Filed 07/03/23
Debtor     Saturno Design, LLC                                                                      Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
T Bank N.A.                                         Bank loan                 Unliquidated             $1,078,428.16                $603,205.00               $475,223.16
16200 Dallas Pkwy
Suite 190
Dallas, TX 75248
U.S. Attorney                                       Precautionary                                                                                                Unknown
100 SW 3rd Ave
#600
Portland, OR 97204
U.S. Attorney                                       Precautionary                                                                                                Unknown
General
Department of
Justice
10th & Constitution
NW
Washington, DC
20530
U.S. Bank, N.A.                                     Credit card debt                                                                                            $14,084.04
PO Box 790408
Saint Louis, MO
63179
U.S. Small Business                                 Business loan                                         $161,918.00                        $0.00            $161,918.00
Administration
10 Causeway St.
Room 265
Boston, MA 02222
U.S. Trustee,                                       Precautionary                                                                                                Unknown
Portland
1220 SW 3rd Ave.,
Room 315
Portland, OR 97204




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




                                           Case 23-31455-dwh11                      Doc 1          Filed 07/03/23
 Fill in this information to identify the case:

 Debtor name            Saturno Design, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF OREGON

 Case number (if known)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $         151,448.62

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $         151,448.62


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $       1,240,346.16


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $          54,077.54

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$       1,299,094.46


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          2,593,518.16




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com



                                                           Case 23-31455-dwh11                                       Doc 1               Filed 07/03/23
Fill in this information to identify the case:

Debtor name          Saturno Design, LLC

United States Bankruptcy Court for the:      DISTRICT OF OREGON

Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Bank of America, N.A.                             Checking Account                      0351                                  $23,509.63




           3.2.     U.S. Bank, N.A.                                   Checking Account                      7969                                   $5,168.92



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                    $28,678.55
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Menashe Properties - Deposit                                                                                                   $2,300.00



8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                       page 1



                                            Case 23-31455-dwh11                 Doc 1        Filed 07/03/23
Debtor         Saturno Design, LLC                                                           Case number (If known)
               Name

           Description, including name of holder of prepayment


9.         Total of Part 2.                                                                                                           $2,300.00
           Add lines 7 through 8. Copy the total to line 81.

Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.
11.        Accounts receivable
           11a. 90 days old or less:                     82,428.00      -                                   0.00 = ....                 $82,428.00
                                        face amount                            doubtful or uncollectible accounts




           11b. Over 90 days old:                        11,684.00      -                                  0.00 =....                   $11,684.00
                                        face amount                            doubtful or uncollectible accounts



12.        Total of Part 3.                                                                                                         $94,112.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:        Investments
13. Does the debtor own any investments?

      No.   Go to Part 5.
      Yes Fill in the information below.

Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No.   Go to Part 6.
      Yes Fill in the information below.

Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No.   Go to Part 7.
      Yes Fill in the information below.

Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.
           General description                                              Net book value of         Valuation method used   Current value of
                                                                            debtor's interest         for current value       debtor's interest
                                                                            (Where available)

39.        Office furniture
           Office furniture. Depreciation schedule
           available.                                                                      $0.00                                         $2,600.00



Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                        page 2



                                            Case 23-31455-dwh11                     Doc 1       Filed 07/03/23
Debtor       Saturno Design, LLC                                                            Case number (If known)
             Name

40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Miscellaneous office equipment. Depreciation
          schedule available.                                                             $0.00                                           $4,400.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                               $7,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
           No
           Yes
45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
           No
           Yes
Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No.   Go to Part 9.
    Yes Fill in the information below.

Part 9:      Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.
55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of            Nature and              Net book value of           Valuation method used   Current value of
          property                               extent of               debtor's interest           for current value       debtor's interest
          Include street address or other        debtor's interest       (Where available)
          description such as Assessor           in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1. Lease - 506 SW Sixth
                  Avenue, Suite 600,
                  Portland, Oregon
                  97204                          Leasehold                          Unknown          N/A                                 Unknown




56.       Total of Part 9.                                                                                                                  $0.00
          Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
          Copy the total to line 88.

57.       Is a depreciation schedule available for any of the property listed in Part 9?
           No
           Yes

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                             page 3



                                          Case 23-31455-dwh11                    Doc 1        Filed 07/03/23
Debtor        Saturno Design, LLC                                                          Case number (If known)
              Name

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
            No
            Yes
Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.
           General description                                          Net book value of          Valuation method used   Current value of
                                                                        debtor's interest          for current value       debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets
           Business name and trade secrets                                         Unknown         N/A                                Unknown



61.        Internet domain names and websites
           www.SaturnoDesign.com                                                   Unknown         N/A                                Unknown



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property
           Timekeeper, Customer Invoice Platform, and
           Document Repository                                                     Unknown         N/A                                Unknown



65.        Goodwill

66.        Total of Part 10.                                                                                                             $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
            Yes
68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
            Yes
69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No
            Yes
Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.
                                                                                                                           Current value of
                                                                                                                           debtor's interest


71.        Notes receivable

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 4



                                          Case 23-31455-dwh11                   Doc 1        Filed 07/03/23
Debtor      Saturno Design, LLC                                                     Case number (If known)
            Name

         Description (include name of obligor)

72.      Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         Employee Retention Credits                                                  Tax year 2021            $19,358.07



73.      Interests in insurance policies or annuities

74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)
         Potential counterclaims against Plaintiff parties in state
         court lawsuit 23CV12662 in Multnomah County Circuit
         Court                                                                                                 Unknown
         Nature of claim         Counterclaim in 23CV12662
         Amount requested                               $0.00



75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.                                                                                   $19,358.07
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
          No
          Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                page 5



                                        Case 23-31455-dwh11                 Doc 1     Filed 07/03/23
Debtor          Saturno Design, LLC                                                                                 Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $28,678.55

81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $2,300.00

82. Accounts receivable. Copy line 12, Part 3.                                                                     $94,112.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $7,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                  $19,358.07

91. Total. Add lines 80 through 90 for each column                                                            $151,448.62           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $151,448.62




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 6



                                                    Case 23-31455-dwh11                               Doc 1            Filed 07/03/23
Fill in this information to identify the case:

Debtor name          Saturno Design, LLC

United States Bankruptcy Court for the:            DISTRICT OF OREGON

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1    T Bank N.A.                                  Describe debtor's property that is subject to a lien              $1,078,428.16               $603,205.00
       Creditor's Name                              Bank loan
       16200 Dallas Pkwy
       Suite 190
       Dallas, TX 75248
       Creditor's mailing address                   Describe the lien
                                                    Substantially all assets
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       08/31/2016                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0500
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



       U.S. Small Business
2.2                                                                                                                     $161,918.00                         $0.00
       Administration                               Describe debtor's property that is subject to a lien
       Creditor's Name                              Business loan
       10 Causeway St.
       Room 265
       Boston, MA 02222
       Creditor's mailing address                   Describe the lien
                                                    Substantially all assets
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       2021                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8101
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 2




                                                  Case 23-31455-dwh11                      Doc 1       Filed 07/03/23
Debtor      Saturno Design, LLC                                                                Case number (if known)
            Name

       No                                          Contingent
       Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative      Disputed
      priority.




     Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.        $1,240,346.16
3.

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                             you enter the related creditor?    account number for
                                                                                                                                                this entity




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2




                                                 Case 23-31455-dwh11                 Doc 1         Filed 07/03/23
Fill in this information to identify the case:

Debtor name        Saturno Design, LLC

United States Bankruptcy Court for the:         DISTRICT OF OREGON

Case number (if known)
                                                                                                                                          Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                           $16,000.00         $15,150.00
          Cristina Bozas                                      Check all that apply.
          20 Trayer Rd                                         Contingent
          Canton, MA 02021                                     Unliquidated
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:
          02/01/2023                                          Wages
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes

2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             Unknown          Unknown
          Internal Revenue Service                            Check all that apply.
          PO Box 7346                                          Contingent
          Philadelphia, PA 19101                               Unliquidated
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:
                                                              Precautionary
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 4
                                                                                                              55310



                                             Case 23-31455-dwh11                          Doc 1               Filed 07/03/23
Debtor      Saturno Design, LLC                                                                      Case number (if known)
            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $10,000.00   $10,000.00
         Jose Gonzalez                                      Check all that apply.
         3533 Summerfield Dr                                 Contingent
         Sherman Oaks, CA 91423                              Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         02/01/2023                                         Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown      Unknown
         Oregon Attorney General                            Check all that apply.
         Department of Justice                               Contingent
         1162 Court St NE                                    Unliquidated
         Salem, OR 97301                                     Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            Precautionary
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown      Unknown
         Oregon Department of Revenue                       Check all that apply.
         955 Center St NE                                    Contingent
         Salem, OR 97301                                     Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            Precautionary
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $13,077.54   $13,077.54
         Oregon Employment Department                       Check all that apply.
         PO Box 4395                                         Contingent
         Portland, OR 97208                                  Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         2021, 2022, 2023                                   Taxes/related
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 2 of 4




                                            Case 23-31455-dwh11                         Doc 1               Filed 07/03/23
Debtor       Saturno Design, LLC                                                                        Case number (if known)
             Name

2.7       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       Unknown    Unknown
          U.S. Attorney                                        Check all that apply.
          100 SW 3rd Ave #600                                   Contingent
          Portland, OR 97204                                    Unliquidated
                                                                Disputed
          Date or dates debt was incurred                      Basis for the claim:
                                                               Precautionary
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                Yes

2.8       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       Unknown    Unknown
          U.S. Attorney General                                Check all that apply.
          Department of Justice                                 Contingent
          10th & Constitution NW                                Unliquidated
          Washington, DC 20530                                  Disputed
          Date or dates debt was incurred                      Basis for the claim:
                                                               Precautionary
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                Yes

2.9       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       Unknown    Unknown
          U.S. Trustee, Portland                               Check all that apply.
          1220 SW 3rd Ave., Room 315                            Contingent
          Portland, OR 97204                                    Unliquidated
                                                                Disputed
          Date or dates debt was incurred                      Basis for the claim:
                                                               Precautionary
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                Yes


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $17,822.42
          Bank of America, N.A.                                               Contingent
          PO Box 660441                                                       Unliquidated
          Dallas, TX 75266                                                    Disputed
          Date(s) debt was incurred 2021
                                                                             Basis for the claim:     Credit card debt
          Last 4 digits of account number    7584
                                                                             Is the claim subject to offset?     No  Yes
3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,265,043.00
          Greg Fredette and Allison Noah-Fredette                             Contingent
          c/o William A. Drew, Attorney                                       Unliquidated
          707 SW Washington Street, Suite 1500                                Disputed
          Portland, OR 97205
          Date(s) debt was incurred 09/09/2016
                                                                             Basis for the claim:     Promissory Notes / Subject to counterclaims
          Last 4 digits of account number                                    Is the claim subject to offset?     No    Yes

Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 3 of 4




                                             Case 23-31455-dwh11                           Doc 1               Filed 07/03/23
Debtor       Saturno Design, LLC                                                                    Case number (if known)
             Name

3.3       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $2,145.00
          NCC Group LLC                                                     Contingent
          16101 Emerald Estate Dr.                                          Unliquidated
          Suite 438                                                         Disputed
          Weston, FL 33331
                                                                           Basis for the claim:    Professional services
          Date(s) debt was incurred 03/01/2023
          Last 4 digits of account number 7230                             Is the claim subject to offset?    No  Yes
3.4       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $14,084.04
          U.S. Bank, N.A.                                                   Contingent
          PO Box 790408                                                     Unliquidated
          Saint Louis, MO 63179                                             Disputed
          Date(s) debt was incurred 2016
                                                                           Basis for the claim:    Credit card debt
          Last 4 digits of account number   5068
                                                                           Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                       39,077.54
5b. Total claims from Part 2                                                                           5b.    +   $                    1,299,094.46

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                        1,338,172.00




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 4




                                             Case 23-31455-dwh11                        Doc 1           Filed 07/03/23
Fill in this information to identify the case:

Debtor name        Saturno Design, LLC

United States Bankruptcy Court for the:      DISTRICT OF OREGON

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           506 Wilcox Building,
             lease is for and the nature of       LLC
             the debtor's interest

                State the term remaining          Expires 12/31/2023
                                                                                    Menashe Properties, Inc.
             List the contract number of any                                        621 SW Alder, Suite 800
                   government contract                                              Portland, OR 97205


2.2.         State what the contract or           Software hosting
             lease is for and the nature of
             the debtor's interest

                State the term remaining          Recurring
                                                                                    Microsoft Azure
             List the contract number of any                                        One Microsoft Way
                   government contract                                              Redmond, WA 98052


2.3.         State what the contract or           Data hosting
             lease is for and the nature of
             the debtor's interest

                State the term remaining          Recurring
                                                                                    Rackspace Technology
             List the contract number of any                                        1 Fanatical Place City of Windcrest
                   government contract                                              San Antonio, TX 78218




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1




                                          Case 23-31455-dwh11                    Doc 1        Filed 07/03/23
Fill in this information to identify the case:

Debtor name      Saturno Design, LLC

United States Bankruptcy Court for the:    DISTRICT OF OREGON

Case number (if known)
                                                                                                                          Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    Cristina Bozas              20 Trayer Rd                                             T Bank N.A.                     D       2.1
                                      Canton, MA 02021                                                                          E/F
                                      Guarantor
                                                                                                                               G



   2.2    Cristina Bozas              20 Trayer Rd                                             U.S. Small Business             D       2.2
                                      Canton, MA 02021                                         Administration                   E/F
                                                                                                                               G



   2.3    Cristina Bozas              20 Trayer Rd                                             Greg Fredette and               D
                                      Canton, MA 02021                                         Allison                          E/F        3.2
                                      Guarantor                                                Noah-Fredette
                                                                                                                               G



   2.4    Luigi Segreto               4805 Nash Dr                                             T Bank N.A.                     D       2.1
                                      The Colony, TX 75056                                                                      E/F
                                      Guarantor
                                                                                                                               G



   2.5    Luigi Segreto               4805 Nash Dr                                             Greg Fredette and               D
                                      The Colony, TX 75056                                     Allison                          E/F        3.2
                                      Guarantor                                                Noah-Fredette
                                                                                                                               G



Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 2



                                          Case 23-31455-dwh11                Doc 1        Filed 07/03/23
Debtor    Saturno Design, LLC                                                     Case number (if known)



         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Polvora                  20 Trayer Rd                                        T Bank N.A.                  D      2.1
          Advertising              Canton, MA 02021                                                                  E/F
                                   Guarantor
                                                                                                                    G



  2.7     Polvora                  20 Trayer Rd                                        Greg Fredette and            D
          Advertising              Canton, MA 02021                                    Allison                       E/F    3.2
                                   Guarantor                                           Noah-Fredette
                                                                                                                    G



  2.8     Rodolfo Bozas            20 Trayer Rd                                        T Bank N.A.                  D      2.1
                                   Canton, MA 02021                                                                  E/F
                                   Guarantor
                                                                                                                    G



  2.9     Rodolfo Bozas            20 Trayer Rd                                        Greg Fredette and            D
                                   Canton, MA 02021                                    Allison                       E/F    3.2
                                   Guarantor                                           Noah-Fredette
                                                                                                                    G




Official Form 206H                                              Schedule H: Your Codebtors                                   Page 2 of 2



                                    Case 23-31455-dwh11                Doc 1      Filed 07/03/23
Fill in this information to identify the case:

Debtor name         Saturno Design, LLC

United States Bankruptcy Court for the:    DISTRICT OF OREGON

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                              04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                            Operating a business                                $495,907.00
      From 1/01/2023 to Filing Date
                                                                                       Other


      For prior year:                                                                  Operating a business                                $916,195.00
      From 1/01/2022 to 12/31/2022
                                                                                       Other


      For year before that:                                                            Operating a business                              $1,070,015.00
      From 1/01/2021 to 12/31/2021
                                                                                       Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

      For year before that:
      From 1/01/2021 to 12/31/2021                                                    PPP                                                   $189,358.00


Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None.
      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1




                                          Case 23-31455-dwh11                    Doc 1        Filed 07/03/23
Debtor       Saturno Design, LLC                                                                Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply
      3.1.
             Microsoft Azure                                       3/6, 3/10,                       $21,556.66          Secured debt
             One Microsoft Way                                     3/31, 5/1,                                           Unsecured loan repayments
             Redmond, WA 98052                                     5/31, 6/1,                                           Suppliers or vendors
                                                                   6/30
                                                                                                                        Services
                                                                                                                        Other

      3.2.
             Menashe Properties, Inc.                              2/17, 3/9,                       $14,344.45          Secured debt
             621 SW Alder, Suite 800                               4/18, 5/5, 6/1,                                      Unsecured loan repayments
             Portland, OR 97205                                    6/28                                                 Suppliers or vendors
                                                                                                                        Services
                                                                                                                        Other

      3.3.
             Cristina Bozas                                        2/17, 3/16,                      $39,076.40          Secured debt
             20 Trayer Rd                                          4/18, 4/26,                                          Unsecured loan repayments
             Canton, MA 02021                                      5/8, 5/30,                                           Suppliers or vendors
                                                                   6/21, 6/28
                                                                                                                        Services
                                                                                                                        Other

      3.4.
             Jose Gonzalez                                         2/17, 3/21,                      $31,937.38          Secured debt
             3533 Summerfield Dr                                   4/26, 5/10,                                          Unsecured loan repayments
             Sherman Oaks, CA 91423                                6/1, 6/21,                                           Suppliers or vendors
                                                                   6/29
                                                                                                                        Services
                                                                                                                        Other

      3.5.
             Foster Garvey P.C.                                    4/28/23                          $60,000.00          Secured debt
             121 SW Morrison St, Ste 1100                          (35,000);                                            Unsecured loan repayments
             Portland, OR 97204                                    5/4/23                                               Suppliers or vendors
                                                                   (15,000); and
                                                                   6/21/23
                                                                                                                        Services
                                                                   (10,000)                                             Other

      3.6.
             Meza Capital / CAAPS Group                            5/4                              $12,000.00          Secured debt
             7250 Dallas Parkway, Ste 800                                                                               Unsecured loan repayments
             Plano, TX 75024
                                                                                                                        Suppliers or vendors
                                                                                                                        Services
                                                                                                                        Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
      Insider's name and address                                   Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor
      4.1.   Jose Gonzalez                                         Bi Weekly                        $41,750.00         1099 for Services
             3533 Summerfield Dr
             Sherman Oaks, CA 91423
             Former Managing Partner


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 2




                                         Case 23-31455-dwh11                      Doc 1        Filed 07/03/23
Debtor       Saturno Design, LLC                                                                Case number (if known)



      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.2.   Cristina Bozas                                        Bi Weekly                        $39,872.00           Payroll then moved to 1099
             20 Trayer Rd
             Canton, MA 02021
             Managing Partner

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
      Creditor's name and address                      Describe of the Property                                        Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      None
      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      None.
             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   Greg Fredette and Allison                 Breach of                   Multnomah County Circuit                      Pending
             Noah-Fredette v. Saturno                  Contract, Breach            Court                                       On appeal
             Design, LLC, et al.                       of Notes, Actions           1200 SW 1st Ave
                                                                                                                               Concluded
             23CV12662                                 on Personal                 Portland, OR 97204
                                                       Guaranties

      7.2.   T Bank v. Saturno Design,                 Action on Note:             Multnomah County Circuit                      Pending
             LLC, et al.                               Breach of                   Court                                       On appeal
             23CV15479                                 Guarantee                   1200 SW 1st Ave
                                                                                                                               Concluded
                                                                                   Portland, OR 97204


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      None
             Recipient's name and address              Description of the gifts or contributions                 Dates given                            Value



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 3




                                          Case 23-31455-dwh11                     Doc 1        Filed 07/03/23
Debtor        Saturno Design, LLC                                                                 Case number (if known)



              Recipient's name and address             Description of the gifts or contributions                  Dates given                          Value

      9.1.    Boston Children's Hospital               Monetary donation
              300 Longwood Avenue
              Boston, MA 02115                                                                                    12/13/2022                      $3,000.00

              Recipients relationship to debtor
              N/A


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      None.
               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.                                                                                                            4/28/23
                                                                                                                       (35,000);
                                                                                                                       5/4/23
               Foster Garvey, P.C.                                                                                     (15,000);
               121 SW Morrison St, Ste 1100                                                                            and 6/21/23
               Portland, OR 97204                                                                                      (10,000)                 $60,000.00

               Email or website address
               www.foster.com

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4




                                         Case 23-31455-dwh11                       Doc 1         Filed 07/03/23
Debtor        Saturno Design, LLC                                                                Case number (if known)




      None.
              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
                Address                                                                                             Dates of occupancy
                                                                                                                    From-To
      14.1.     506 SW 6th Ave.                                                                                     November 1, 2021 - Current
                Floor 6
                Portland, OR 97204

      14.2.     421 SW 10 St                                                                                        September 2016 to October 31,
                Portland, OR 97201                                                                                  2021

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
      Yes. Fill in the information below.

                Facility name and address              Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

          No.
      Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

      No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:
                    Name of plan                                                                        Employer identification number of the plan
                    Employee Fiduciary                                                                  EIN: EFC3059

                    Has the plan been terminated?
                     No
                     Yes

Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 5




                                            Case 23-31455-dwh11                    Doc 1        Filed 07/03/23
Debtor      Saturno Design, LLC                                                                  Case number (if known)



    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
               Financial Institution name and           Last 4 digits of           Type of account or          Date account was                  Last balance
               Address                                  account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      None
      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      None
      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No.
      Yes. Provide details below.
      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

          No.
      Yes. Provide details below.
Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 6




                                          Case 23-31455-dwh11                      Doc 1        Filed 07/03/23
Debtor      Saturno Design, LLC                                                                 Case number (if known)




      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Francisco Arguello                                                                                                 Accountant, 2016 to
                    201 Cross Street                                                                                                   Current
                    Miami Springs, FL 33166
      26a.2.        Candace Callaway                                                                                                   Bookkeeper, 2017 to
                                                                                                                                       2021


    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        Francisco Arguello                                                                                                 2016 - Current
                    201 Cross Street
                    Miami Springs, FL 33166

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Francisco Arguello
                    201 Cross Street
                    Miami Springs, FL 33166
      26c.2.        Rodolfo Bozas
                    20 Trayer Rd
                    Canton, MA 02021

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 7




                                          Case 23-31455-dwh11                     Doc 1        Filed 07/03/23
Debtor      Saturno Design, LLC                                                                Case number (if known)




           None
      Name and address
      26d.1.  Foster Garvey P.C.
                    121 SW Morrison St, Ste 1100
                    Portland, OR 97204
      26d.2.        Francisco Arguello
                    201 Cross Street
                    Miami Springs, FL 33166
      26d.3.        Moroch Holdings Inc.
                    3625 N Hall St #1100
                    Dallas, TX 75219
      26d.4.        T Bank N.A.
                    16200 Dallas Pkwy
                    Suite 190
                    Dallas, TX 75248
      26d.5.        Menashe Properties, Inc.
                    621 SW Alder, Suite 800
                    Portland, OR 97205
      26d.6.        Funding Circle



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

          No
      Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                 Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                    or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                  Address                                              Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Rodolfo Bozas                         20 Trayer Rd                                         Managing Partner                      N/A
                                            Canton, MA 02021

      Name                                  Address                                              Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Cristina Bozas                        20 Trayer Rd                                         Managing Partner                      N/A
                                            Canton, MA 02021

      Name                                  Address                                              Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Luigi Segreto                         4805 Nash Dr                                         Managing Partner                      N/A
                                            The Colony, TX 75056

      Name                                  Address                                              Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Eduardo Feo Seijas                    540 Brickell Key Dr                                  Equity Holder                         16.0%
                                            Apt 1619
                                            Miami, FL 33131




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 8




                                         Case 23-31455-dwh11                     Doc 1        Filed 07/03/23
Debtor      Saturno Design, LLC                                                                Case number (if known)



      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Polvora Advertising, Inc.              20 Trayer Rd                                        Majority Shareholder                    67.25%
                                             Canton, MA 02021



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


      No
          Yes. Identify below.

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Jose Gonzalez                          3533 Summerfield Dr                                 Managing Partner                   2018-2023
                                             Sherman Oaks, CA 91423


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

      No
          Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Cristina Bozas                                                                                       9/1/22,
      .    20 Trayer Rd                                                                                         10/25/22,           Loan
             Canton, MA 02021                         $8,387.00                                                 11/18/22            reimbursements

             Relationship to debtor
             Managing Partner




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

      No
          Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation
   Lotus Design LLC                                                                                   EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
      Yes. Identify below.
   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund


Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9




                                         Case 23-31455-dwh11                     Doc 1        Filed 07/03/23
Debtor      Saturno Design, LLC                                                                Case number (if known)



Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 10




                                        Case 23-31455-dwh11                      Doc 1        Filed 07/03/23
                                                      United States Bankruptcy Court
                                                                     District of Oregon
 In re    Saturno Design, LLC                                                                                     Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Eduardo Feo Seijas                                          N/A                   N/A                                        16.0% Membership Interest
540 Brickell Key Dr.
Apt 1619
Miami, FL 33131

Kevin Sample/Creekview Capital LLC                          N/A                   N/A                                        6.75% Membership Interest
14241 Dallas Parkway
Suite 650
Dallas, TX 75253

Moroch Holdings, Inc.                                       N/A                   N/A                                        10.0% Membership Interest
3625 N Hall Street                                                                                                           (may have been reduced to
#1100                                                                                                                        9.0% or so through
Dallas, TX 75248                                                                                                             exercise of put option)

Polvora Advertising, Inc.                                   N/A                   N/A                                        67.25% Membership Interest
20 Trayer Rd
Canton, MA 02021


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing Partner of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



Date 7/3/2023                                                            Signature
                                                                                        Rodolfo (Rudy) Bozas

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders




                                          Case 23-31455-dwh11                       Doc 1         Filed 07/03/23
                                               United States Bankruptcy Court
                                                           District of Oregon
 In re   Saturno Design, LLC                                                                    Case No.
                                                                    Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Managing Partner of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:    7/3/2023
                                                        Rodolfo (Rudy) Bozas/Managing Partner
                                                        Signer/Title




                                    Case 23-31455-dwh11                Doc 1       Filed 07/03/23
    Saturno Design, LLC - - Pg. 1 of 3


x
a
M
s
A
o
t
i
d
e
r
C
{
1
k
b
}




                   Azure
                   One Microsoft Way
                   Redmond, WA 98052


                   Bank of America, N.A.
                   PO Box 660441
                   Dallas, TX 75266


                   Cristina Bozas
                   20 Trayer Rd
                   Canton, MA 02021


                   Greg Fredette and Allison Noah-Fredette
                   c/o William A. Drew, Attorney
                   707 SW Washington Street, Suite 1500
                   Portland, OR 97205


                   Internal Revenue Service
                   PO Box 7346
                   Philadelphia, PA 19101


                   Jose Gonzalez
                   3533 Summerfield Dr
                   Sherman Oaks, CA 91423


                   Luigi Segreto
                   4805 Nash Dr
                   The Colony, TX 75056


                   Menashe Properties, Inc.
                   621 SW Alder, Suite 800
                   Portland, OR 97205


                   NCC Group LLC
                   16101 Emerald Estate Dr.
                   Suite 438
                   Weston, FL 33331


                   Oregon Attorney General
                   Department of Justice
                   1162 Court St NE
                   Salem, OR 97301




                Case 23-31455-dwh11   Doc 1   Filed 07/03/23
Saturno Design, LLC - - Pg. 2 of 3



               Oregon Department of Revenue
               955 Center St NE
               Salem, OR 97301


               Oregon Employment Department
               PO Box 4395
               Portland, OR 97208


               Polvora Advertising
               20 Trayer Rd
               Canton, MA 02021


               Rackspace Technology
               1 Fanatical Place City of Windcrest
               San Antonio, TX 78218


               Rodolfo Bozas
               20 Trayer Rd
               Canton, MA 02021


               T Bank N.A.
               16200 Dallas Pkwy
               Suite 190
               Dallas, TX 75248


               U.S. Attorney
               100 SW 3rd Ave #600
               Portland, OR 97204


               U.S. Attorney General
               Department of Justice
               10th & Constitution NW
               Washington, DC 20530


               U.S. Bank, N.A.
               PO Box 790408
               Saint Louis, MO 63179


               U.S. Small Business Administration
               10 Causeway St.
               Room 265
               Boston, MA 02222




            Case 23-31455-dwh11   Doc 1   Filed 07/03/23
Saturno Design, LLC - - Pg. 3 of 3



               U.S. Trustee, Portland
               1220 SW 3rd Ave., Room 315
               Portland, OR 97204




            Case 23-31455-dwh11   Doc 1   Filed 07/03/23
6:42 PM                                 Saturno Design, LLC
06/29/23                                     Profit & Loss
Accrual Basis                      January through June 2023

                                                                        Jan - Jun 23
                Ordinary Income/Expense
                     Income
                        4000 · Income
                          4010 · Service Income                         334,385.00
                          4020 · Website Hosting Income                  77,908.00
                          4030 · Software Income                         83,613.55

                       Total 4000 · Income                                  495,906.55

                    Total Income                                            495,906.55

                    Cost of Goods Sold
                      5000 · COGS - Labor Expense
                         5001 · Developers                               99,999.96
                         5002 · Project Management                       50,000.04
                         5007 · 401k Safe Harbor Match                    9,387.45
                         5013 · Employer Health/Dentl Insurance           2,681.90
                         5000 · COGS - Labor Expense - Other                625.83

                       Total 5000 · COGS - Labor Expense                    162,695.18

                       5300 · Software                                        25,042.49
                       5316 · Contractor NEC                                   2,145.00

                    Total COGS                                              189,882.67

                  Gross Profit                                              306,023.88

                    Expense
                      6000 · Payroll Expenses
                        6010 · Payroll Taxes                             13,107.39
                        6011 · Tri-Met Reimbursements                         0.00
                        6012 · 401(k) Employer Match                     20,074.88
                        6014 · Employer Dental Insurance                  1,998.82
                        6015 · Employer Health Insurance                 26,004.34
                        6019 · Payroll Fees                                 220.53
                        6000 · Payroll Expenses - Other                   1,188.00

                       Total 6000 · Payroll Expenses                          62,593.96

                       6025 · Bank Service Charges                               284.01
                       6050 · Dues and Subscriptions                             472.00
                       6055 · Hosting                                          6,495.79
                       6060 · Insurance
                         6065 · Workers Compensation                      1,879.50

                       Total 6060 · Insurance                                  1,879.50

                       6070 · Interest Expense                                 1,701.92
                       6100 · Office Supplies                                  1,124.14
                       6105 · Office Equipment                                   469.19
                       6115 · Office Rent                                     16,713.45
                       6155 · Recruitment Expenses                               254.87
                       6165 · Professional Services
                         6166 · Accounting                               19,358.07

                         6167 · Legal                                    60,000.00

                                                                                          Page 1

                     Case 23-31455-dwh11               Doc 1      Filed 07/03/23
6:42 PM                                   Saturno Design, LLC
06/29/23                                        Profit & Loss
Accrual Basis                          January through June 2023

                                                                          Jan - Jun 23
                             6165 · Professional Services - Other          88,050.00

                        Total 6165 · Professional Services                    167,408.07

                        6170 · Software/Internet Expenses                       12,313.36

                        6175 · Telephone                                         1,134.73

                        6200 · Taxes
                          6215 · City/County                                1,358.29

                        Total 6200 · Taxes                                       1,358.29

                      Total Expense                                           274,203.28

                  Net Ordinary Income                                           31,820.60

                Net Income                                                     31,820.60




                                                                                            Page 2

                      Case 23-31455-dwh11                  Doc 1    Filed 07/03/23
5:55 PM                                         Saturno Design, LLC
06/29/23                                              Balance Sheet
Accrual Basis                                    As of June 30, 2023

                                                                                Jun 30, 23
                ASSETS
                  Current Assets
                    Checking/Savings
                       1000 · US Bank Checking - 7969                                     5,268.92
                       1030 · Bank of America - 0351                                     27,793.70

                    Total Checking/Savings                                               33,062.62

                    Accounts Receivable
                      1300 · Accounts Receivable                                        147,934.02

                    Total Accounts Receivable                                           147,934.02

                    Other Current Assets
                      1150 · Undeposited Funds                                            1,199.00
                      2123 · Payroll Asset                                              (38,612.86)

                    Total Other Current Assets                                          (37,413.86)

                  Total Current Assets                                                  143,582.78

                  Fixed Assets
                     1500 · Acquisition Assets
                       1505 · Computer Equipment                                 25,000.00
                       1510 · Furniture and Equipment                           184,000.00
                       1515 · Leasehold Improvements                             15,000.00
                       1520 · Other Acquisition Assets                           84,000.00
                       1525 · Software                                        2,699,888.37
                       1530 · Telephone & Equipment                              15,000.00

                    Total 1500 · Acquisition Assets                                 3,022,888.37

                    1600 · Other Assets
                      1605 · Furniture and Office Equipment                       4,749.00

                    Total 1600 · Other Assets                                             4,749.00

                    1700 · Accumulated Depreciation
                      1705 · Accum Depr Computer Equipment                       (37,320.00)
                      1710 · Accum Depr Furniture & Equip                      (285,840.00)
                      1715 · Accum Depr Leasehold Improvemen                     (12,504.00)
                      1730 · Accum Depr Telephone Equip                          (18,020.00)

                    Total 1700 · Accumulated Depreciation                            (353,684.00)

                    1800 · (Saturno/Lotus Purch)
                      1360 · Accumulated Amoritization                        (1,400,870.00)
                      1805 · Goodwill (Saturno/Lotus Purch)                      463,113.00
                      1810 · Closing Costs (Saturno/Lotus Pu                      91,568.83

                    Total 1800 · (Saturno/Lotus Purch)                               (846,188.17)

                  Total Fixed Assets                                                1,827,765.20




                                                                                                      Page 1

                            Case 23-31455-dwh11                Doc 1   Filed 07/03/23
5:55 PM                                       Saturno Design, LLC
06/29/23                                              Balance Sheet
Accrual Basis                                    As of June 30, 2023

                                                                                     Jun 30, 23
                  Other Assets
                    1815 · Due from Greg Fredette                                            248,871.69
                    1820 · Due from Lotus                                                    306,170.31
                    1825 · Loan due from Polvora                                              22,526.17

                  Total Other Assets                                                         577,568.17

                TOTAL ASSETS                                                             2,548,916.15

                LIABILITIES & EQUITY
                   Liabilities
                      Current Liabilities
                        Accounts Payable
                            2000 · Accounts Payable                                           82,281.07

                       Total Accounts Payable                                                 82,281.07

                       Credit Cards
                         American Express Business 81001                                       3,550.00
                         1003 · US Credit Card - 5068
                           1004 · US Credit Card - 5076 - Rudy                         3,971.51
                           1005 · US Credit Card - 5084 - Office                       6,269.39
                           1003 · US Credit Card - 5068 - Other                       14,341.17

                         Total 1003 · US Credit Card - 5068                                   24,582.07

                         1900 · CC Bank of America Corp. - 7584
                           1901 · CC BoA - Cris - 2210                                 7,062.53
                           1902 · CC BoA Rudy - 5056                                  27,753.81
                           1903 · CC BoA - Jose - 8420                                 9,710.92
                           1900 · CC Bank of America Corp. - 7584 - Other            (52,903.33)

                         Total 1900 · CC Bank of America Corp. - 7584                         (8,376.07)

                         2020 · BofA Credity Card 5056                                         2,428.23

                       Total Credit Cards                                                     22,184.23

                       Other Current Liabilities
                         1830 · Debt to Meza Capital                                          12,000.00
                         2125 · Loan due to Polvora                                           10,453.25
                         2126 · Loan due to Rudy/Cris Bozas                                   37,441.35
                         2130 · Lotus T Bank Loan (Saturno)                                   45,797.62
                         2145 · A/R Due to Greg Fredette                                     372,540.32
                         2300 · Payroll Liabilities
                           2310 · Social Security Tax                                 52,635.86
                           2315 · Medicare Tax                                        12,310.00
                           2320 · Federal Income Tax                                  46,884.00
                           2325 · State Income Tax                                    32,250.95
                           2326 · MA Taxes                                             5,033.29
                           2340 · 401(K) Retirement Plan                              21,002.45
                           2350 · FUTA                                                   198.61
                           2355 · SUI/Tri-met/WBF                                     11,311.48
                           2360 · Health Insurance                                    54,789.32




                                                                                                           Page 2

                             Case 23-31455-dwh11               Doc 1        Filed 07/03/23
5:55 PM                                         Saturno Design, LLC
06/29/23                                              Balance Sheet
Accrual Basis                                     As of June 30, 2023

                                                                                    Jun 30, 23
                            2365 · Dental Insurance                                   3,335.92
                            2300 · Payroll Liabilities - Other                         (635.42)

                          Total 2300 · Payroll Liabilities                                  239,116.46

                          2406 · Dept of Treasury Installment Lo                              (3,360.00)
                          2408 · 2nd PPP SBA Loan                                           166,468.95
                          2409 · SBA Loan                                                   144,883.00

                       Total Other Current Liabilities                                  1,025,340.95

                    Total Current Liabilities                                           1,129,806.25

                    Long Term Liabilities
                      2401 · Greg Fredette (Subordinated #1)                              128,640.03
                      2402 · Greg Fredette (Subordinated #2)                              389,802.88
                      2403 · T Bank                                                     1,049,249.89

                    Total Long Term Liabilities                                         1,567,692.80

                  Total Liabilities                                                     2,697,499.05

                  Equity
                    2410 · Addl Paid In Capital (Lotus)                                   500,000.00
                    2415 · Preacquisition Draws                                          (907,087.54)
                    2420 · Acquisition Draws                                             (101,435.61)
                    3000 · Opening Balance Equity                                           50,749.09
                    3020 · Shareholder Equity                                                5,000.00
                    3030 · Due To/From Shareholder                                         (19,051.97)
                    3050 · Retained Earnings                                                17,769.91
                    3150 · Additional Paid In Capital                                     273,652.62
                    Net Income                                                              31,820.60

                  Total Equity                                                           (148,582.90)

                TOTAL LIABILITIES & EQUITY                                              2,548,916.15




                                                                                                           Page 3

                             Case 23-31455-dwh11                   Doc 1   Filed 07/03/23
               Federal
              Tax Return
             LOTUS DIGITAL LLC


                  2021



          Francisco J. Arguelles, CPA
               201 Cross Street
           Miami Springs, FL 33166
             Phone: (305) 887-5016
              Fax: (305) 884-2470
              fjacpa@gmail.com




Case 23-31455-dwh11      Doc 1     Filed 07/03/23
         1065
                                                                                                                                                                         OMB No. 1545-0123
Form
                                                           U.S. Return of Partnership Income
Department of the Treasury
Internal Revenue Service
                                                For calendar year 2021, or tax year beginning
                                                 Go to www.irs.gov/Form1065 for instructions and the latest information.
                                                                                                                        , ending                             .
                                                                                                                                                                           2021
A     Principal business activity                    Name of partnership                                                                                         D Employer identification number
WEB DEVELOPER                                      LOTUS DIGITAL LLC                                                                                                       XX-XXXXXXX
B     Principal product or service                   Number, street, and room or suite no. If a P.O. box, see instructions.                                      E Date business started
                                        Type       201 CROSS ST
                                         or
SOFTWARE                                Print
                                                     City or town                                          State                     ZIP code                              11/14/2014
C     Business code number                         MIAMI SPRINGS                                           FL                        33166                       F Total assets (see
                                                     Foreign country name                   Foreign province/state/county            Foreign postal code           instructions)

519100                                                                                                                                                           $                      2,584,321
G Check applicable boxes:                (1)        Initial return   (2)        Final return (3)           Name change (4)               Address change              (5)         Amended return
H Check accounting method:               (1)        Cash             (2) X Accrual               (3)       Other (specify)
 I Number of Schedules K-1. Attach one for each person who was a partner at any time during the tax year.                                                                                               4
J Check if Schedules C and M-3 are attached . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
K Check if partnership: (1)               Aggregated activities for section 465 at-risk purposes             (2)       Grouped activities for section 469 passive activity purposes
Caution: Include only trade or business income and expenses on lines 1a through 22 below. See instructions for more information.
       1a Gross receipts or sales . . . . . . . . . . . . . . . . . . . . . .1a. . . . . . .1,074,481     . . . . . . . . . . . . . . . . . .
        b Returns and allowances . . . . . . . . . . . . . . . . . . . . . 1b            . . . . . . . . . . . . . . . . . . . . . . . . .
        c Balance. Subtract line 1b from line 1a . . . . . . . . . . . . . . . . . . . . . . . . . . . .1c. . . . . . . 1,074,481    . . . . . .
       2 Cost of goods sold (attach Form 1125-A) . . . . . . . . . . . . . . . . . . . . . . . . . . 2              . . . . . . . . . 9,668
                                                                                                                                          . . . . .
       3 Gross profit. Subtract line 2 from line 1c . . . . . . . . . . . . . . . . . . . . . . . . . . .3 . . . . . . . 1,064,813   . . . . . .
       4 Ordinary income (loss) from other partnerships, estates, and trusts (attach statement) . . . . . . . . .4 . . . . . . . . . . . . .
       5 Net farm profit (loss) (attach Schedule F (Form 1040)) . . . . . . . . . . . . . . . . . . . . . 5. . . . . . . . . . . . . .
       6 Net gain (loss) from Form 4797, Part II, line 17 (attach Form 4797) . . . . . . . . . . . . . . . . 6 . . . . . . . . . . . . .
       7 Other income (loss) (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . 7. . . . . . . . . . . . .
       8 Total income (loss). Combine lines 3 through 7 . . . . . . . . . . . . . . . . . . . . . . . 8. . . . . . . 1,064,813      . . . . . .
       9 Salaries and wages (other than to partners) (less employment credits) . . . . . . . . . . . . . . .9 . . . . . . . .694,343     . . . . .
      10 Guaranteed payments to partners . . . . . . . . . . . . . . . . . . . . . . . . . . . . .10. . . . . . . . . . . . .
      11 Repairs and maintenance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .11. . . . . . . . . . . . .
      12 Bad debts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12                   . . . . . . . . . . . . . .
      13 Rent . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13                     . . . . . . . . . 25,584
                                                                                                                                          . . . . .
      14 Taxes and licenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14                  . . . . . . . . . 18,559
                                                                                                                                         . . . . .
      15 Interest (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15. . . . . . . . .82,387             . . . .
      16a Depreciation (if required, attach Form 4562) . . . . . . . . . . . . .16a        . . . . . . . . 15,014
                                                                                                            . . . . . . . . . . . . . . . . .
        b Less depreciation reported on Form 1125-A and elsewhere on return . . . . . . 16b
                                                                                          . . . . . . . . . . . 16c
                                                                                                                  . . . . . . . . . 15,014
                                                                                                                                        . . . . .
      17 Depletion (Do not deduct oil and gas depletion.) . . . . . . . . . . . . . . . . . . . . . 17             . . . . . . . . . . . . . .
      18 Retirement plans, etc. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18                . . . . . . . . . . . . . .
      19 Employee benefit programs . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19                   . . . . . . . . . . . . . .
      20 Other deductions (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . .20. . . . . . . . 340,181           . . . . .
      21 Total deductions. Add the amounts shown in the far right column for lines 9 through 20 . . . . . . . 21     . . . . . . . .1,176,068
                                                                                                                                      . . . . . .
      22 Ordinary business income (loss). Subtract line 21 from line 8 . . . . . . . . . . . . . . . . . 22. . . . . . . . -111,255    . . . . .
      23 Interest due under the look-back method—completed long-term contracts (attach Form 8697) . . . . . 23     . . . . . . . . . . . . . .
      24 Interest due under the look-back method—income forecast method (attach Form 8866) . . . . . . . . 24. . . . . . . . . . . . .
      25 BBA AAR imputed underpayment (see instructions) . . . . . . . . . . . . . . . . . . . . . . 25              . . . . . . . . . . . . . .
      26 Other taxes (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .26. . . . . . . . . . . . .
      27 Total balance due. Add lines 23 through 26 . . . . . . . . . . . . . . . . . . . . . . . . . 27             . . . . . . . . . . . 0. . .
      28 Payment (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 28. . . . . . . . . . . . .
      29 Amount owed. If line 28 is smaller than line 27, enter amount owed . . . . . . . . . . . . . . . .29. . . . . . . . . . . . .
      30 Overpayment. If line 28 is larger than line 27, enter overpayment . . . . . . . . . . . . . . . . .30. . . . . . . . . . . . .
                     Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my
                     knowledge and belief, it is true, correct, and complete. Declaration of preparer (other than partner or limited liability company member) is based on all
                     information of which preparer has any knowledge.
Sign                                                                                                                                                             May the IRS discuss this return with
Here                                                                                                                                                             the preparer shown below? See
                                                                                                                                      5/17/2022                  instructions.  X Yes              No
                             Signature of partner or limited liability company member                                         Date
                     Print/Type preparer's name                             Preparer's signature                                     Date                                             PTIN
                                                                                                                                                              Check       X      if
Paid                Francisco Arguelles                      Francisco Arguelles                                                         6/13/2022            self-employed
Preparer            Firm's name     Francisco J. Arguelles, CPA                                                                                               Firm's EIN
Use Only            Firm's address  201 Cross Street                                                                                                          Phone no.    (305) 887-5016
                    City    Miami Springs                                                                             State   FL                              ZIP code     33166
For Paperwork Reduction Act Notice, see separate instructions.                                                                                                                   Form 1065 (2021)
HTA
                                                      Case 23-31455-dwh11                              Doc 1       Filed 07/03/23
Form 1065 (2021)   LOTUS DIGITAL LLC                                                                                                    XX-XXXXXXX          Page      2
Schedule B           Other Information
  1 What type of entity is filing this return? Check the applicable box:                                                                                Yes No
   a   Domestic general partnership                            b      Domestic limited partnership
    c X     Domestic limited liability company                 d           Domestic limited liability partnership
    e       Foreign partnership                                f           Other
  2 At the end of the tax year:
   a Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or
     tax-exempt organization, or any foreign government own, directly or indirectly, an interest of 50% or more in the
     profit, loss, or capital of the partnership? For rules of constructive ownership, see instructions. If "Yes," attach
     Schedule B-1, Information on Partners Owning 50% or More of the Partnership . . . . . . . . . . . . . . . . . . . .X . . . . . .
   b Did any individual or estate own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of
     the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule B-1, Information
     on Partners Owning 50% or More of the Partnership . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .X . . . .
  3 At the end of the tax year, did the partnership:
   a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of stock
     entitled to vote of any foreign or domestic corporation? For rules of constructive ownership, see instructions. If "Yes,"
     complete (i) through (iv) below . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X. . . .
                                                                             (ii) Employer Identification        (iii) Country of          (iv) Percentage
                        (i) Name of Corporation
                                                                                   Number (if any)                Incorporation          Owned in Voting Stock




   b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss,
     or capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial
     interest of a trust? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below . . . . . . . . . X. . . .
                                                                    (ii) Employer                                                               (v) Maximum
                                                                    Identification               (iii) Type of        (iv) Country of      Percentage Owned in
                       (i) Name of Entity
                                                                   Number (if any)                   Entity            Organization        Profit, Loss, or Capital




 4      Does the partnership satisfy all four of the following conditions?                                                                              Yes No
  a     The partnership's total receipts for the tax year were less than $250,000.
  b     The partnership's total assets at the end of the tax year were less than $1 million.
  c     Schedules K-1 are filed with the return and furnished to the partners on or before the due date (including extensions)
        for the partnership return.
   d    The partnership is not filing and is not required to file Schedule M-3 . . . . . . . . . . . . . . . . . . . .                      . . . . . . X
                                                                                                                                                        . . . . .
        If "Yes," the partnership is not required to complete Schedules L, M-1, and M-2; item F on page 1 of Form 1065;
        or item L on Schedule K-1.
  5     Is this partnership a publicly traded partnership, as defined in section 469(k)(2)? . . . . . . . . . . . . . . .                    . . . . . . X
                                                                                                                                                         . . . .
  6     During the tax year, did the partnership have any debt that was canceled, was forgiven, or had the terms
        modified so as to reduce the principal amount of the debt? . . . . . . . . . . . . . . . . . . . . . . . .                            . . . . . . X. . . .
  7     Has this partnership filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
        information on any reportable transaction? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               . . . . . . X
                                                                                                                                                         . . . .
  8     At any time during calendar year 2021, did the partnership have an interest in or a signature or other authority over
        financial account in a foreign country (such as a bank account, securities account, or other financial account)? See
        instructions for exceptions and filing requirements for FinCEN Form 114, Report of Foreign Bank and Financial
        Accounts (FBAR). If "Yes," enter the name of the foreign country                                                                                         X
  9     At any time during the tax year, did the partnership receive a distribution from, or was it the grantor of, or
        transferor to, a foreign trust? If "Yes," the partnership may have to file Form 3520, Annual Return To Report
        Transactions With Foreign Trusts and Receipt of Certain Foreign Gifts. See instructions . . . . . . . . . . . .                     . . . . . . X. . . .
10a     Is the partnership making, or had it previously made (and not revoked), a section 754 election? . . . . . . . . .                   . . . . . . .X . . . .
        See instructions for details regarding a section 754 election.
   b    Did the partnership make for this tax year an optional basis adjustment under section 743(b) or 734(b)? If "Yes,"
        attach a statement showing the computation and allocation of the basis adjustment. See instructions . . . . . . .                    . . . . . . X
                                                                                                                                                         . . . .
                                                                                                                                               Form   1065 (2021)

                                            Case 23-31455-dwh11                Doc 1           Filed 07/03/23
Form 1065 (2021)        LOTUS DIGITAL LLC                                                                                          XX-XXXXXXX            Page   3
Schedule B        Other Information (continued)
 c Is the partnership required to adjust the basis of partnership assets under section 743(b) or 734(b) because of a                               Yes     No
    substantial built-in loss (as defined under section 743(d)) or substantial basis reduction (as defined under section
    734(d))? If "Yes," attach a statement showing the computation and allocation of the basis adjustment. See instructionsX
 11    Check this box if, during the current or prior tax year, the partnership distributed any property received in a
       like-kind exchange or contributed such property to another entity (other than disregarded entities wholly
       owned by the partnership throughout the tax year) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 12    At any time during the tax year, did the partnership distribute to any partner a tenancy-in-common or other
       undivided interest in partnership property? . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             . . . . . . . X. . . .
 13    If the partnership is required to file Form 8858, Information Return of U.S. Persons With Respect To Foreign
       Disregarded Entities (FDEs) and Foreign Branches (FBs), enter the number of Forms 8858 attached. See
       instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   . . . . . . . . . . . .
 14    Does the partnership have any foreign partners? If "Yes," enter the number of Forms 8805, Foreign Partner's
       Information Statement of Section 1446 Withholding Tax, filed for this partnership. . . . . . . . . .0 . . . .                    . . .              X
 15    Enter the number of Forms 8865, Return of U.S. Persons With Respect to Certain Foreign Partnerships,
       attached to this return. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 0               . . . . .                . . . .     . . . . . . .
16a    Did you make any payments in 2021 that would require you to file Form(s) 1099? See instructions . . . . . . .                     . . . .     X
                                                                                                                                                     . . . . . . .
  b    If "Yes," did you or will you file required Form(s) 1099? . . . . . . . . . . . . . . . . . . . . . . . .                        . . . .     .X . . . . . .
17     Enter the number of Forms 5471, Information Return of U.S. Persons With Respect To Certain Foreign
       Corporations, attached to this return. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             . . . . . . . . . . .
 18    Enter the number of partners that are foreign governments under section 892. . . . . . . . . . . 0       . . . . .                . . . . . . . . . . .
 19    During the partnership's tax year, did the partnership make any payments that would require it to file Forms 1042
       and 1042-S under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474)? . . . . .                            . . . . . . . X. . . .
 20    Was the partnership a specified domestic entity required to file Form 8938 for the tax year? See the Instructions for Form 8938                        X
 21    Is the partnership a section 721(c) partnership, as defined in Regulations section 1.721(c)-1(b)(14)? . . . . . . . . . . . . . X. . . .
 22    During the tax year, did the partnership pay or accrue any interest or royalty for which one or more partners are
       not allowed a deduction under section 267A? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . X. . . .
       If "Yes," enter the total amount of the disallowed deductions . . . . . . . . . . $. . . . . . . . . . . . . . . . . . . . . . .
 23    Did the partnership have an election under section 163(j) for any real property trade or business or any farming
       business in effect during the tax year? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X . . . .
 24    Does the partnership satisfy one or more of the following? See instructions . . . . . . . . . . . . . . . . . . . . . . . X. . . .
  a    The partnership owns a pass-through entity with current, or prior year carryover, excess business interest expense.
  b    The partnership's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
       preceding the current tax year are more than $26 million and the partnership has business interest.
   c   The partnership is a tax shelter (see instructions) and the partnership has business interest expense.
       If "Yes" to any, complete and attach Form 8990.
 25    Is the partnership attaching Form 8996 to certify as a Qualified Opportunity Fund? . . . . . . . . . . . . . . . . . . . . X. . . .
       If "Yes," enter the amount from Form 8996, line 15 . . . . . . . . . . . . . . $. . . . . . . . . . . . . . . . . . . . . . .
 26    Enter the number of foreign partners subject to section 864(c)(8) as a result of transferring all or a portion of an
       interest in the partnership or of receiving a distribution from the partnership . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
       Complete Schedule K-3 (Form 1065), Part XIII, for each foreign partner subject to section 864(c)(8) on a transfer or distribution.
 27    At any time during the tax year, were there any transfers between the partnership and its partners subject to the
       disclosure requirements of Regulations section 1.707-8? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X. . . . .
 28    Since December 22, 2017, did a foreign corporation directly or indirectly acquire substantially all of the properties
       constituting a trade or business of your partnership, and was the ownership percentage (by vote or value) for
       purposes of section 7874 greater than 50% (for example, the partners held more than 50% of the stock of
       the foreign corporation)? If "Yes," list the ownership percentage by vote and by value. See instructions.
       Percentage:                                                              By Vote                                By Value                               X
 29    Is the partnership electing out of the centralized partnership audit regime under section 6221(b)? See instructions.                                   X
       If "Yes," the partnership must complete Schedule B-2 (Form 1065). Enter the total from Schedule B-2, Part III, line 3 . . . . . . . . . . . . . . . . . . . . . .
       If "No," complete Designation of Partnership Representative below.
Designation of Partnership Representative (see instructions)
Enter below the information for the partnership representative (PR) for the tax year covered by this return.

Name of PR       POLVORA ADVERTISING INC
                     333 RICCIUTI DR UNIT 134                                                              U.S. phone number
U.S. address of PR
                     QUINCY                                              MA     02169                      of PR                       (305) 887-5016
If the PR is an entity, name of the designated individual for the PR   RODOLFO BOZAS
U.S. address of           333 RICCIUTI DR APT 134                                                          U.S. phone number of
designated individual     Quincy                                           MA         02169                designated individual       (305) 887-5016
                                                                                                                                            Form 1065 (2021)



                                          Case 23-31455-dwh11                   Doc 1         Filed 07/03/23
Form 1065 (2021)   LOTUS DIGITAL LLC                                                                                    XX-XXXXXXX     Page 4
Schedule K            Partners' Distributive Share Items                                                                   Total amount
             1     Ordinary business income (loss) (page 1, line 22) . . . . . . . . . . . . . . . . . . . .         . 1 . . . . . .-111,255
                                                                                                                                      . . . .   . .
             2     Net rental real estate income (loss) (attach Form 8825) . . . . . . . . . . . . . . . . . .       .2 . . . . . . . . . .     . .
             3a    Other gross rental income (loss) . . . . . . . . . . . . . . . . . 3a          . . . . . . . . . .
                                                                                                                    . . . . . . . . . . .       . .
              b    Expenses from other rental activities (attach statement) . . . . . . . . 3b. . . . . . . . . .     . . . . . . . . . . .      . .
              c    Other net rental income (loss). Subtract line 3b from line 3a . . . . . . . . . . . . . . . .    .3c. . . . . . . . .0 .     . .
             4     Guaranteed payments:        a Services 4a                       0 b Capital 4b                  0
                   c Total. Add lines 4a and 4b . . . . . . . . . . . . . . . . . . . . . . . . . . . . .4c. . . . . . . . . . . .
             5     Interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5. . . . . . . . . . . .
             6     Dividends and dividend equivalents:       a Ordinary dividends . . . . . . . . . . . . . . . . 6a     . . . . . . . . . . . . .
                   b Qualified dividends 6b                         c Dividend equivalents      6c
            7      Royalties . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .7 . . . . . . . . . . . .
            8      Net short-term capital gain (loss) (attach Schedule D (Form 1065)) . . . . . . . . . . . . . . 8      . . . . . . . . . . . . .
            9a     Net long-term capital gain (loss) (attach Schedule D (Form 1065)) . . . . . . . . . . . . . . .9a. . . . . . . . . . . .
             b     Collectibles (28%) gain (loss) . . . . . . . . . . . . . . . . . . 9b         . . . . . . . . . . . . . . . . . . . . . . . .
             c     Unrecaptured section 1250 gain (attach statement) . . . . . . . . . . 9c. . . . . . . . . . . . . . . . . . . . . . .
           10      Net section 1231 gain (loss) (attach Form 4797) . . . . . . . . . . . . . . . . . . . . . .10. . . . . . . . . . . .
           11      Other income (loss) (see instructions) Type                                                          11
           12      Section 179 deduction (attach Form 4562) . . . . . . . . . . . . . . . . . . . . . . . 12            . . . . . . . . . . . . .
           13a     Contributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13a              . . . . . . . . . . . . .
             b     Investment interest expense . . . . . . . . . . . . . . . . . . . . . . . . . . . . .13b                . . . . . . . . . . . . .
             c     Section 59(e)(2) expenditures:        (1) Type                                     (2) Amount      13c(2)
             d     Other deductions (see instructions)       Type                                                      13d
           14a     Net earnings (loss) from self-employment . . . . . . . . . . . . . . . . . . . . . . . 14a          . . . . . . . . . . . . .
             b     Gross farming or fishing income . . . . . . . . . . . . . . . . . . . . . . . . . . . 14b            . . . . . . . . . . . . .
             c     Gross nonfarm income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14c                 . . . . . . . . . . . . .
           15a     Low-income housing credit (section 42(j)(5)) . . . . . . . . . . . . . . . . . . . . . . 15a        . . . . . . . . . . . . .
             b     Low-income housing credit (other) . . . . . . . . . . . . . . . . . . . . . . . . . . .15b              . . . . . . . . . . . .
             c     Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable)        15c
             d     Other rental real estate credits (see instructions)     Type                                        15d
             e     Other rental credits (see instructions)      Type                                                   15e
              f    Other credits (see instructions)       Type                                                         15f

           16      Attach Schedule K-2 (Form 1065), Partners' Distributive Share Items-International, and check
                   this box to indicate that you are reporting items of international tax relevance . . . . . . . . . . . . . . . . . . . . . . .


           17a     Post-1986 depreciation adjustment . . . . . . . . . . . . . . . . . . . . . . . . . .17a     . . . . . . . . . . . . .
             b     Adjusted gain or loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .17b      . . . . . . . . . . . .
             c     Depletion (other than oil and gas) . . . . . . . . . . . . . . . . . . . . . . . . . . .17c   . . . . . . . . . . . . .
             d     Oil, gas, and geothermal properties—gross income . . . . . . . . . . . . . . . . . . . .17d   . . . . . . . . . . . .
             e     Oil, gas, and geothermal properties—deductions . . . . . . . . . . . . . . . . . . . . .17e   . . . . . . . . . . . .
              f    Other AMT items (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . .17f     . . . . . . . . . . . . .
           18a     Tax-exempt interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18a    . . . . . . . . . . . . .
             b     Other tax-exempt income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18b     . . . . . . . . . . . . .
             c     Nondeductible expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18c     . . . . . . . . . . . . .
           19a     Distributions of cash and marketable securities . . . . . . . . . . . . . . . . . . . . . 19a
                                                                                                             . . . . . . . . . . . . .
             b     Distributions of other property . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19b. . . . . . . . . . . . .
           20a     Investment income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20a     . . . . . . . . . . . . .
             b     Investment expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20b     . . . . . . . . . . . . .
             c     Other items and amounts (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
           21      Total foreign taxes paid or accrued . . . . . . . . . . . . . . . . . . . . . . . . . . . 21. . . . . . . . . . . .
                                                                                                                            Form 1065 (2021)




                                       Case 23-31455-dwh11               Doc 1      Filed 07/03/23
Form 1065 (2021)     LOTUS DIGITAL LLC                                                                                                    XX-XXXXXXX        Page   5
Analysis of Net Income (Loss)
  1  Net income (loss). Combine Schedule K, lines 1 through 11. From the result, subtract the sum of
     Schedule K, lines 12 through 13d, and 21 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1. . . . . -111,255   . . . . . . .
  2 Analysis by                                    (ii) Individual   (iii) Individual                    (v) Exempt        (vi)
                                (i) Corporate                                           (iv) Partnership
     partner type:                                     (active)         (passive)                        Organization Nominee/Other
   a General partners
   b Limited partners                     -85,944           -17,801                               -7,510
Schedule L              Balance Sheets per Books                                Beginning of tax year                               End of tax year
                                 Assets                                    (a)               (b)                 (c)                (d)
   1    Cash . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 148,953)           . . . . . . . . . . . . . . . . . 61,040). . . . . .
   2a   Trade notes and accounts receivable . . . . . . . . . . . . 76,313)     . . . . . . . . . . . . . . . . .56,694). . . . . . . . . . . . .
    b   Less allowance for bad debts . . . . . . . . . . . . . . . . . . . . . . . 76,313)        . . . . . . . . . . . . . . . . 56,694)
                                                                                                                                        . . . . . .
   3    Inventories . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
   4    U.S. government obligations . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
   5    Tax-exempt securities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
   6    Other current assets (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
   7a   Loans to partners (or persons related to partners) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    b   Mortgage and real estate loans . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
   8    Other investments (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
   9a   Buildings and other depreciable assets . . . . . . . . . . . 247,672)  . . . . . . . . . . . . . . . . 247,672)
                                                                                                                     . . . . . . . . . . . . . .
    b   Less accumulated depreciation . . . . . . . . . . . . . . 220,198)     . . . . . . . . .27,474)
                                                                                                     . . . . . . . 235,213)
                                                                                                                     . . . . . . . . .12,459)
                                                                                                                                          . . . . .
 10a    Depletable assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    b   Less accumulated depletion . . . . . . . . . . . . . . . . . . . . . . . . . . 0). . . . . . . . . . . . . . . . 0)                   . . . .
 11     Land (net of any amortization) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 12a    Intangible assets (amortizable only) . . . . . . . . . . . 3,317,849)
                                                                           . . . . . . . . . . . . . . . . . 3,338,682)
                                                                                                                   . . . . . . . . . . . . . . .
    b   Less accumulated amortization . . . . . . . . . . . . . . 958,490)     . . . . . . . 2,359,359)
                                                                                              . . . . . . . . .1,179,796)
                                                                                                                     . . . . . . . 2,158,886)
                                                                                                                                    . . . . . . .
  13    Other assets (attach statement) . . . . . . . . . . . . . . . . . . . . . . 295,623)      . . . . . . . . . . . . . . . . 295,242)
                                                                                                                                        . . . . . .
  14    Total assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2,907,722)      . . . . . . . . . . . . . . . . 2,584,321)
                                                                                                                                     . . . . . . .
                     Liabilities and Capital
  15    Accounts payable . . . . . . . . . . . . . . . . . . . . . . . . . . . . 28,248)            . . . . . . . . . . . . . . . . 26,530)
                                                                                                                                         . . . . . .
  16    Mortgages, notes, bonds payable in less than 1 year
  17    Other current liabilities (attach statement) . . . . . . . . . . . . . . . . . . 35,128) . . . . . . . . . . . . . . . . .66,866) . . . . .
  18    All nonrecourse loans . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 19a    Loans from partners (or persons related to partners) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
   b    Mortgages, notes, bonds payable in 1 year or more . . . . . . . . . . . . . . 1,601,820)
                                                                                               . . . . . . . . . . . . . . . . 1,379,008)
                                                                                                                                     . . . . . . .
  20    Other liabilities (attach statement) . . . . . . . . . . . . . . . . . . . . 1,498,189)
                                                                                              . . . . . . . . . . . . . . . . 1,110,264)
                                                                                                                                    . . . . . . .
  21    Partners' capital accounts . . . . . . . . . . . . . . . . . . . . .( . . . .255,663)      . . . . . . . . . . . . . . . . . 1,653). . . . .
  22    Total liabilities and capital . . . . . . . . . . . . . . . . . . . . . . . .2,907,722) . . . . . . . . . . . . . . . .2,584,321)
                                                                                                                                      . . . . . . .
 Schedule M-1           Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                        Note: The partnership may be required to file Schedule M-3. See instructions.
   1  Net income (loss) per books . . . . . . . . . . . .257,316    . . . .6 . Income
                                                                                . . . recorded
                                                                                        . . . .on. books
                                                                                                      . . this
                                                                                                             . .year. .not. included
                                                                                                                              . . . . . . . . . . . . . .
   2  Income included on Schedule K, lines 1, 2, 3c,                           on Schedule K, lines 1 through 11 (itemize):
      5, 6a, 7, 8, 9a, 10, and 11, not recorded on                          a Tax-exempt interest           $
      books this year (itemize):                                        0      See Statement                                370,086                     370,086
   3 Guaranteed payments (other than health                                7 Deductions included on Schedule K, lines 1
      insurance) . . . . . . . . . . . . . . . . . . . . . 0. . . through       . . . .13d,. .and. 21,
                                                                                                    . . not
                                                                                                         . charged
                                                                                                             . . . . . . . . . . . . . . . . . . .
   4 Expenses recorded on books this year not                                  against book income this year (itemize):
      included on Schedule K, lines 1 through                               a Depreciation            $
      13d, and 21 (itemize):                            See Statement                                                                                         0
    a Depreciation      $                                                  8 Add lines 6 and 7 . . . . . . . . . . . . . . . 370,086                     . . . . . .
   b Travel and entertainment        $                              1,515 9 Income (loss) (Analysis of Net Income
   5 Add lines 1 through 4 . . . . . . . . . . . . . . 258,831   . . . . . . (Loss),
                                                                                 . . . line
                                                                                         . .1).. Subtract
                                                                                                  . . . .line . 8. from
                                                                                                                     . . line
                                                                                                                           . .5 . . . . . . . . . . . .-111,255
                                                                                                                                                        ............
 Schedule M-2           Analysis of Partners' Capital Accounts
   1    Balance at beginning of year . . . . . .        . . .  . . -255,663
                                                                     . . . .     6.    . Distributions:
                                                                                           . . . . . . . a. Cash  . . . .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .
   2    Capital contributed:   a Cash . . . . .         . . .  . . . . . .        .    . . . . . . . . b. Property. . . . . . . . . . . . . . . . . . . .
                               b Property . . . .        . . .  . . . . . .      7.     . Other
                                                                                            . . decreases
                                                                                                 . . . . .(itemize):
                                                                                                                . . . . . . . . . . . . . . . . . . . . .
   3    Net income (loss) (see instructions) . . . .     . . .  . . -111,255
                                                                      . . . .      .    . See
                                                                                            . .Statement
                                                                                                 . . . . . . . . . . . . . . . . . . . . . 1,515              . . . . .
   4    Other increases (itemize): See Statement                     370,086     8        Add lines 6 and 7 . . . . . . . . . . . . . . . . 1,515              . . . . .
   5    Add lines 1 through 4 . . . . . . . . .          . . . . . . 3,168
                                                                        . . .    9.    . Balance
                                                                                           . . . at. end
                                                                                                      . .of .year.
                                                                                                               . .Subtract
                                                                                                                    . . . line
                                                                                                                            . 8. from
                                                                                                                                  . . line
                                                                                                                                        . .5 . . . . . 1,653 . . . . .
                                                                                                                                                 Form 1065 (2021)

                                         Case 23-31455-dwh11                   Doc 1           Filed 07/03/23
Form      1125-A                                             Cost of Goods Sold
(Rev. November 2018)                                                                                                                    OMB No. 1545-0123
Department of the Treasury
                                                  Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.
Internal Revenue Service                         Go to www.irs.gov/Form1125A for the latest information.
Name                                                                                                                           Employer identification number
LOTUS DIGITAL LLC                                                                                                             XX-XXXXXXX
      1       Inventory at beginning of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1. . . . . . . . . . . . . . . . . .
      2       Purchases . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .2 . . . . . . . . . . . . . . . . . .
      3       Cost of labor . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .3 . . . . . . . . . 9,668
                                                                                                                            . . . . . . . . .
      4       Additional section 263A costs (attach schedule) . . . . . . . . . . . . . . . . . . . . . . . . 4 . . . . . . . . . . . . . . . . . .
      5       Other costs (attach schedule) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5. . . . . . . . . . . . . . . . . .
      6       Total. Add lines 1 through 5 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6         . . . . . . . . . . 9,668
                                                                                                                                        . . . . . . . . .
      7       Inventory at end of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7. . . . . . . . . . . . . . . . . . .
      8       Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2
              or the appropriate line of your tax return. See instructions . . . . . . . . . . . . . . . . . . . . 8. . . . . . . . . .9,668
                                                                                                                                         . . . . . . . .
      9a      Check all methods used for valuing closing inventory:
               (i)    Cost
              (ii)    Lower of cost or market
              (iii)   Other (Specify method used and attach explanation.)
          b   Check if there was a writedown of subnormal goods . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
          c   Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970) . . . . . . . . . . . . . . . . . . .
          d   If the LIFO inventory method was used for this tax year, enter amount of closing inventory
              computed under LIFO . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9d. . . . . . . . . . . . . . . . . .
          e   If property is produced or acquired for resale, do the rules of section 263A apply to the entity? See instructions . . . . . Yes
                                                                                                                                            . . . . . . No
                                                                                                                                                         . . . . . .
          f   Was there any change in determining quantities, cost, or valuations between opening and closing inventory? If
              "Yes," attach explanation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Yes
                                                                                                                       . . . . . No
                                                                                                                                 . . . . . . .




For Paperwork Reduction Act Notice, see instructions.                                                                             Form 1125-A (Rev. 11-2018)
HTA
                                            Case 23-31455-dwh11                   Doc 1        Filed 07/03/23
SCHEDULE B-1
(Form 1065)
                                               Information on Partners Owning 50% or
(Rev. August 2019)                                    More of the Partnership                                                                   OMB No. 1545-0123
Department of the Treasury                                         Attach to Form 1065.
Internal Revenue Service                           Go to www.irs.gov/Form1065 for the latest information.
Name of partnership                                                                                                    Employer identification number (EIN)
LOTUS DIGITAL LLC                                                                                                    XX-XXXXXXX

 Part I          Entities Owning 50% or More of the Partnership (Form 1065, Schedule B, Question 2a (Question 3a for
                 2009 through 2017))

Complete columns (i) through (v) below for any foreign or domestic corporation, partnership (including any entity treated as a
partnership), trust, tax-exempt organization, or any foreign government that owns, directly or indirectly, an interest of 50% or more in
the profit, loss, or capital of the partnership (see instructions).
                                                                                                                                                    (v) Maximum
                                                                (ii) Employer                                                (iv)                Percentage Owned
                       (i) Name of Entity                   Identification Number       (iii) Type of Entity
                                                                                                                   Country of Organization        in Profit, Loss, or
                                                                     (if any)
                                                                                                                                                        Capital


POLVORA ADVERTISING INC                                       XX-XXXXXXX             Corporation                 United States                                67.250%




 Part II         Individuals or Estates Owning 50% or More of the Partnership (Form 1065, Schedule B, Question 2b
                 (Question 3b for 2009 through 2017))

Complete columns (i) through (iv) below for any individual or estate that owns, directly or indirectly, an interest of 50% or more
in the profit, loss, or capital of the partnership (see instructions).
                                                                                                                                                    (iv) Maximum
                                                           (ii) Identifying Number                                                              Percentage Owned in
                (i) Name of Individual or Estate                                         (iii) Country of Citizenship (see instructions)             Profit, Loss,
                                                                    (if any)
                                                                                                                                                       or Capital




For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                          Schedule B-1 (Form 1065) (Rev. 8-2019)
HTA




                                               Case 23-31455-dwh11                   Doc 1       Filed 07/03/23
LOTUS DIGITAL LLC
201 CROSS ST
MIAMI SPRINGS, FL 33166



June 13, 2022

CREEKVIEW CAPITAL LLC
14241 DALLAS PARKWAY SUITE 650
DALLAS, TX 75254




RE: LOTUS DIGITAL LLC
    XX-XXXXXXX

Enclosed is your current year Schedule K-1 (Form 1065) for the above-referenced account. The amounts
shown are your distributive share of the partnership's income, deductions and credits incurred during the
year and are to be reported on your income tax return. The amounts may differ from the distributions you
actually received during the year. The difference may be due to a number of factors including the allocation
of fees or other deductions, exclusion of tax-exempt income, or a variance between your taxable year and
that of the partnership.


If applicable, state tax information has been attached to the K-1. Since income tax requirements vary from
state to state, the presentation of the state tax information will be different for each state. The information
provided is based on your state of residence from our records. If information for your state of residence is
not listed, please contact us at the number below.


If you have any questions concerning this information, please call


Sincerely,




                        Case 23-31455-dwh11             Doc 1      Filed 07/03/23
                                                                                                                                                                                            651121
                                                                                                                         Final K-1                       Amended K-1                    OMB No. 1545-0123

Schedule K-1                                                                                                       Part III          Partner's Share of Current Year Income,
(Form 1065)                                                                                2021                                      Deductions, Credits, and Other Items
Department of the Treasury                                                                                    1     Ordinary business income (loss)            14      Self-employment earnings (loss)
Internal Revenue Service                                              For calendar year 2021, or tax year                                            -7,510
       beginning                                                      ending                                  2     Net rental real estate income (loss)

Partner's Share of Income, Deductions,                                                                                                                         15      Credits
                                                                                                              3     Other net rental income (loss)
Credits, etc.       See back of form and separate instructions.

   Part I                Information About the Partnership                                                    4a    Guaranteed payments for services
  A     Partnership's employer identification number
  XX-XXXXXXX                                                                                                  4b    Guaranteed payments for capital            16      Schedule K-3 is attached if
  B     Partnership's name, address, city, state, and ZIP code                                                                                                         checked . . . . . . . . . . . . . . . .
                                                                                                              4c    Total guaranteed payments                  17      Alternative minimum tax (AMT) items

  LOTUS DIGITAL LLC
  201 CROSS ST                                                                                                5     Interest income
  MIAMI SPRINGS, FL 33166
  C     IRS center where partnership filed return                          e-file                             6a    Ordinary dividends
  D              Check if this is a publicly traded partnership (PTP)
   Part II               Information About the Partner                                                        6b    Qualified dividends                        18      Tax-exempt income and
  E     Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)        Partner: 1                                                             nondeductible expenses
  XX-XXXXXXX                                                                                                  6c    Dividend equivalents
  F     Name, address, city, state, and ZIP code for partner entered in E. See instructions.
  CREEKVIEW CAPITAL LLC                                                                                       7     Royalties
  14241 DALLAS PARKWAY SUITE 650
  DALLAS, TX 75254                                                                                            8     Net short-term capital gain (loss)
                                                                                                                                                               19      Distributions
  G              General partner or LLC                                X     Limited partner or other LLC     9a    Net long-term capital gain (loss)
                 member-manager                                              member

  H1    X        Domestic partner                                            Foreign partner                  9b    Collectibles (28%) gain (loss)
  H2           If the partner is a disregarded entity (DE), enter the partner's:                                                                               20      Other information
        TIN                                               Name                                                9c    Unrecaptured section 1250 gain
  I1    What type of entity is this partner?                    LLC - Partnership                                                                              Z* See Attached Stmt
  I2    If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here                                 10    Net section 1231 gain (loss)
  J     Partner's share of profit, loss, and capital (see instructions):
                              Beginning                                                    Ending             11    Other income (loss)
        Profit                                 6.750000%                                        6.750000%
        Loss                                   6.750000%                                        6.750000%
        Capital                                6.750000%                                        6.750000%
        Check if decrease is due to sale or exchange of partnership interest . . . . . . .12. . Section
                                                                                                . . . .179
                                                                                                         . deduction
                                                                                                           . . . . . . . . . . . . 21. . Foreign
                                                                                                                                         . . . .taxes
                                                                                                                                                  . . paid
                                                                                                                                                       . . or. accrued
                                                                                                                                                                . . . . . . .
  K     Partner's share of liabilities:
                                            Beginning                                       Ending            13    Other deductions
        Nonrecourse . . $. . . . . . . . 103,499
                                          . . . . . $ . . . . . . . . 79,456
                                                                      . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
        Qualified nonrecourse
        financing . . . . . $. . . . . . . . . 108,123
                                               . . . . . . $. . . . . . . . . . 93,083
                                                                                . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
        Recourse . . . $. . . . . . . . . 1,907
                                          . . . . $. . . . . . . . . 1,791
                                                                     . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
        Check this box if Item K includes liability amounts from lower tier partnerships.

  L                                  Partner's Capital Account Analysis                                       22         More than one activity for at-risk purposes*
        Beginning capital account . . . . . . $ . . . . . . . . . . . -56,180
                                                                       . . . . . .23. . . . More
                                                                                             . . than
                                                                                                  . . one
                                                                                                      . . activity
                                                                                                           . . . for
                                                                                                                   . passive
                                                                                                                     . . . .activity
                                                                                                                              . . .purposes*
                                                                                                                                     . . . . . . . . . . .
        Capital contributed during the year . . . $. . . . . . . . . . . . . . . . . .*See
                                                                                       . . .attached
                                                                                              . . . . statement
                                                                                                      . . . . . . for
                                                                                                                    . .additional
                                                                                                                         . . . . . information.
                                                                                                                                     . . . . . . . . . . . .
        Current year net income (loss) . . . . . $ . . . . . . . . . . . .-7,510
                                                                            . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
        Other increase (decrease) (attach explanation)            $                                  24,879
        Withdrawals and distributions . . . . . $. (. . . . . . . . . . . . . . ) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
        Ending capital account . . . . . . . $. . . . . . . . . . . -38,811
                                                                    . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

  M     Did the partner contribute property with a built-in gain (loss)?
                 Yes                 X     No          If "Yes," attach statement. See instructions.

  N              Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
        Beginning . . . . . . . . . . . . . $. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
       Ending . . . . . . . . . . . . . . $. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
For Paperwork Reduction Act Notice, see the Instructions for Form 1065. www.irs.gov/Form1065                              Schedule K-1 (Form 1065) 2021
HTA
                                                               Case 23-31455-dwh11                            Doc 1             Filed 07/03/23
   CREEKVIEW CAPITAL LLC                                                           XX-XXXXXXX
K-1 Statement (Sch K-1, Form 1065)
Line 20 - Other Information

Section 199A Information (Code Z)
   Income Items                                                                  Non-SSTB           SSTB
       Ordinary Income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -7,510
                                                                                       . . . . . . . . . . .0 . . . . . .
   Additional Information
      Section 199A W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . .47,521
                                                                                          . . . . . . . . . . 0. . . . . .
      Section 199A unadjusted basis . . . . . . . . . . . . . . . . . . . . . . . . . . 16,718
                                                                                        . . . . . . . . . . . 0. . . . . .




                             Case 23-31455-dwh11          Doc 1    Filed 07/03/23
LOTUS DIGITAL LLC
201 CROSS ST
MIAMI SPRINGS, FL 33166



June 13, 2022

EDUARDO FEO
540 BRICKELL KEY DRIVE APT 1619
MIAMI, FL 33131




RE: LOTUS DIGITAL LLC
    XX-XXXXXXX

Enclosed is your current year Schedule K-1 (Form 1065) for the above-referenced account. The amounts
shown are your distributive share of the partnership's income, deductions and credits incurred during the
year and are to be reported on your income tax return. The amounts may differ from the distributions you
actually received during the year. The difference may be due to a number of factors including the allocation
of fees or other deductions, exclusion of tax-exempt income, or a variance between your taxable year and
that of the partnership.


If applicable, state tax information has been attached to the K-1. Since income tax requirements vary from
state to state, the presentation of the state tax information will be different for each state. The information
provided is based on your state of residence from our records. If information for your state of residence is
not listed, please contact us at the number below.


If you have any questions concerning this information, please call


Sincerely,




                        Case 23-31455-dwh11             Doc 1      Filed 07/03/23
                                                                                                                                                                                            651121
                                                                                                                         Final K-1                       Amended K-1                    OMB No. 1545-0123

Schedule K-1                                                                                                       Part III          Partner's Share of Current Year Income,
(Form 1065)                                                                                2021                                      Deductions, Credits, and Other Items
Department of the Treasury                                                                                    1     Ordinary business income (loss)            14      Self-employment earnings (loss)
Internal Revenue Service                                              For calendar year 2021, or tax year                                          -17,801
       beginning                                                      ending                                  2     Net rental real estate income (loss)

Partner's Share of Income, Deductions,                                                                                                                         15      Credits
                                                                                                              3     Other net rental income (loss)
Credits, etc.       See back of form and separate instructions.

   Part I                Information About the Partnership                                                    4a    Guaranteed payments for services
  A     Partnership's employer identification number
  XX-XXXXXXX                                                                                                  4b    Guaranteed payments for capital            16      Schedule K-3 is attached if
  B     Partnership's name, address, city, state, and ZIP code                                                                                                         checked . . . . . . . . . . . . . . . .
                                                                                                              4c    Total guaranteed payments                  17      Alternative minimum tax (AMT) items

  LOTUS DIGITAL LLC
  201 CROSS ST                                                                                                5     Interest income
  MIAMI SPRINGS, FL 33166
  C     IRS center where partnership filed return                          e-file                             6a    Ordinary dividends
  D              Check if this is a publicly traded partnership (PTP)
   Part II               Information About the Partner                                                        6b    Qualified dividends                        18      Tax-exempt income and
  E     Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)        Partner: 2                                                             nondeductible expenses
              6639                                                                                            6c    Dividend equivalents
  F     Name, address, city, state, and ZIP code for partner entered in E. See instructions.
  EDUARDO FEO                                                                                                 7     Royalties
  540 BRICKELL KEY DRIVE APT 1619
  MIAMI, FL 33131                                                                                             8     Net short-term capital gain (loss)
                                                                                                                                                               19      Distributions
  G              General partner or LLC                                X     Limited partner or other LLC     9a    Net long-term capital gain (loss)
                 member-manager                                              member

  H1    X        Domestic partner                                            Foreign partner                  9b    Collectibles (28%) gain (loss)
  H2           If the partner is a disregarded entity (DE), enter the partner's:                                                                               20      Other information
        TIN                                               Name                                                9c    Unrecaptured section 1250 gain
  I1    What type of entity is this partner?                    Active Individual                                                                              Z* See Attached Stmt
  I2    If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here                                 10    Net section 1231 gain (loss)
  J     Partner's share of profit, loss, and capital (see instructions):
                              Beginning                                                    Ending             11    Other income (loss)
        Profit                               16.000000%                                       16.000000%
        Loss                                 16.000000%                                       16.000000%
        Capital                              16.000000%                                       16.000000%
        Check if decrease is due to sale or exchange of partnership interest . . . . . . .12. . Section
                                                                                                . . . .179
                                                                                                         . deduction
                                                                                                           . . . . . . . . . . . . 21. . Foreign
                                                                                                                                         . . . .taxes
                                                                                                                                                  . . paid
                                                                                                                                                       . . or. accrued
                                                                                                                                                                . . . . . . .
  K     Partner's share of liabilities:
                                            Beginning                                       Ending            13    Other deductions
        Nonrecourse . . $. . . . . . . . 245,331
                                          . . . . . $ . . . . . . . .188,341
                                                                      . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
        Qualified nonrecourse
        financing . . . . . $. . . . . . . . . 256,291
                                               . . . . . . $. . . . . . . . . .220,641
                                                                                . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
        Recourse . . . $. . . . . . . . . 4,520
                                          . . . . $. . . . . . . . . 4,245
                                                                     . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
        Check this box if Item K includes liability amounts from lower tier partnerships.

  L                                  Partner's Capital Account Analysis                                       22         More than one activity for at-risk purposes*
        Beginning capital account . . . . . . $ . . . . . . . . . . -140,067
                                                                    . . . . . . .23. . . . More
                                                                                            . . than
                                                                                                 . . one
                                                                                                     . . activity
                                                                                                          . . . for
                                                                                                                  . passive
                                                                                                                    . . . .activity
                                                                                                                             . . .purposes*
                                                                                                                                    . . . . . . . . . . .
        Capital contributed during the year . . . $. . . . . . . . . . . . . . . . . .*See
                                                                                       . . .attached
                                                                                              . . . . statement
                                                                                                      . . . . . . for
                                                                                                                    . .additional
                                                                                                                         . . . . . information.
                                                                                                                                     . . . . . . . . . . . .
        Current year net income (loss) . . . . . $ . . . . . . . . . . . -17,801
                                                                          . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
        Other increase (decrease) (attach explanation)            $                                  58,972
        Withdrawals and distributions . . . . . $. (. . . . . . . . . . . . . . ) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
        Ending capital account . . . . . . . $. . . . . . . . . . . -98,896
                                                                    . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

  M     Did the partner contribute property with a built-in gain (loss)?
                 Yes                 X     No          If "Yes," attach statement. See instructions.

  N              Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
        Beginning . . . . . . . . . . . . . $. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
       Ending . . . . . . . . . . . . . . $. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
For Paperwork Reduction Act Notice, see the Instructions for Form 1065. www.irs.gov/Form1065                              Schedule K-1 (Form 1065) 2021
HTA
                                                               Case 23-31455-dwh11                            Doc 1             Filed 07/03/23
   EDUARDO FEO                                                                            6639
K-1 Statement (Sch K-1, Form 1065)
Line 20 - Other Information

Section 199A Information (Code Z)
   Income Items                                                                  Non-SSTB             SSTB
       Ordinary Income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -17,801
                                                                                         . . . . . . . . . . .0 . . . . . .
   Additional Information
      Section 199A W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . 112,642
                                                                                        . . . . . . . . . . . 0. . . . . .
      Section 199A unadjusted basis . . . . . . . . . . . . . . . . . . . . . . . . . . 39,628
                                                                                         . . . . . . . . . . . 0. . . . . .




                             Case 23-31455-dwh11          Doc 1     Filed 07/03/23
LOTUS DIGITAL LLC
201 CROSS ST
MIAMI SPRINGS, FL 33166



June 13, 2022

POLVORA ADVERTISING INC
333 RICCIUTI DR UNIT 134
QUINCY, MA 02169




RE: LOTUS DIGITAL LLC
    XX-XXXXXXX

Enclosed is your current year Schedule K-1 (Form 1065) for the above-referenced account. The amounts
shown are your distributive share of the partnership's income, deductions and credits incurred during the
year and are to be reported on your income tax return. The amounts may differ from the distributions you
actually received during the year. The difference may be due to a number of factors including the allocation
of fees or other deductions, exclusion of tax-exempt income, or a variance between your taxable year and
that of the partnership.


If applicable, state tax information has been attached to the K-1. Since income tax requirements vary from
state to state, the presentation of the state tax information will be different for each state. The information
provided is based on your state of residence from our records. If information for your state of residence is
not listed, please contact us at the number below.


If you have any questions concerning this information, please call


Sincerely,




                        Case 23-31455-dwh11             Doc 1      Filed 07/03/23
                                                                                                                                                                                             651121
                                                                                                                          Final K-1                       Amended K-1                    OMB No. 1545-0123

Schedule K-1                                                                                                        Part III          Partner's Share of Current Year Income,
(Form 1065)                                                                                2021                                       Deductions, Credits, and Other Items
Department of the Treasury                                                                                     1     Ordinary business income (loss)            14      Self-employment earnings (loss)
Internal Revenue Service                                              For calendar year 2021, or tax year                                           -74,818
       beginning                                                      ending                                   2     Net rental real estate income (loss)

Partner's Share of Income, Deductions,                                                                                                                          15      Credits
                                                                                                               3     Other net rental income (loss)
Credits, etc.       See back of form and separate instructions.

   Part I                Information About the Partnership                                                     4a    Guaranteed payments for services
  A     Partnership's employer identification number
  XX-XXXXXXX                                                                                                   4b    Guaranteed payments for capital            16      Schedule K-3 is attached if
  B     Partnership's name, address, city, state, and ZIP code                                                                                                          checked . . . . . . . . . . . . . . . .
                                                                                                               4c    Total guaranteed payments                  17      Alternative minimum tax (AMT) items

  LOTUS DIGITAL LLC
  201 CROSS ST                                                                                                 5     Interest income
  MIAMI SPRINGS, FL 33166
  C     IRS center where partnership filed return                          e-file                              6a    Ordinary dividends
  D              Check if this is a publicly traded partnership (PTP)
   Part II               Information About the Partner                                                         6b    Qualified dividends                        18      Tax-exempt income and
  E     Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)        Partner: 3                                                              nondeductible expenses
  XX-XXXXXXX                                                                                                   6c    Dividend equivalents
  F     Name, address, city, state, and ZIP code for partner entered in E. See instructions.
  POLVORA ADVERTISING INC                                                                                      7     Royalties
  333 RICCIUTI DR UNIT 134
  QUINCY, MA 02169                                                                                             8     Net short-term capital gain (loss)
                                                                                                                                                                19      Distributions
  G              General partner or LLC                                X     Limited partner or other LLC      9a    Net long-term capital gain (loss)
                 member-manager                                              member

  H1    X        Domestic partner                                            Foreign partner                   9b    Collectibles (28%) gain (loss)
  H2           If the partner is a disregarded entity (DE), enter the partner's:                                                                                20      Other information
        TIN                                               Name                                                 9c    Unrecaptured section 1250 gain
  I1    What type of entity is this partner?                    S Corporation                                                                                   Z* See Attached Stmt
  I2    If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here                                  10    Net section 1231 gain (loss)
  J     Partner's share of profit, loss, and capital (see instructions):
                              Beginning                                                    Ending              11    Other income (loss)
        Profit                               67.250000%                                       67.250000%
        Loss                                 67.250000%                                       67.250000%
        Capital                              67.250000%                                       67.250000%
        Check if decrease is due to sale or exchange of partnership interest . . . . . . .12. . Section
                                                                                                . . . .179
                                                                                                         . deduction
                                                                                                           . . . . . . . . . . . . 21. . Foreign
                                                                                                                                         . . . .taxes
                                                                                                                                                  . . paid
                                                                                                                                                       . . or. accrued
                                                                                                                                                                . . . . . . .
  K     Partner's share of liabilities:
                                            Beginning                                       Ending             13    Other deductions
        Nonrecourse . . $. . . . . . . 1,031,155
                                        . . . . . . $ . . . . . . . .791,620
                                                                      . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
        Qualified nonrecourse
        financing . . . . . $. . . . . . . . 1,077,224
                                              . . . . . . . $. . . . . . . . . .927,383
                                                                                 . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
        Recourse . . . $. . . . . . . . . 18,996
                                           . . . . $. . . . . . . . .17,841
                                                                      . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
        Check this box if Item K includes liability amounts from lower tier partnerships.

  L                                  Partner's Capital Account Analysis                                        22         More than one activity for at-risk purposes*
        Beginning capital account . . . . . . $ . . . . . . . . . . -476,187
                                                                    . . . . . . .23. . . . More
                                                                                            . . than
                                                                                                 . . one
                                                                                                     . . activity
                                                                                                          . . . for
                                                                                                                  . passive
                                                                                                                    . . . .activity
                                                                                                                             . . .purposes*
                                                                                                                                    . . . . . . . . . . .
        Capital contributed during the year . . . $. . . . . . . . . . . . . . . . . .*See
                                                                                       . . .attached
                                                                                              . . . . statement
                                                                                                      . . . . . . for
                                                                                                                    . .additional
                                                                                                                         . . . . . information.
                                                                                                                                     . . . . . . . . . . . .
        Current year net income (loss) . . . . . $ . . . . . . . . . . . -74,818
                                                                          . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
        Other increase (decrease) (attach explanation)            $                                  247,863
        Withdrawals and distributions . . . . . $. (. . . . . . . . . . . . . . ) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
        Ending capital account . . . . . . . $. . . . . . . . . . .-303,142
                                                                     . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

  M     Did the partner contribute property with a built-in gain (loss)?
                 Yes                 X     No          If "Yes," attach statement. See instructions.

  N              Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
        Beginning . . . . . . . . . . . . . $. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
       Ending . . . . . . . . . . . . . . $. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
For Paperwork Reduction Act Notice, see the Instructions for Form 1065. www.irs.gov/Form1065                              Schedule K-1 (Form 1065) 2021
HTA
                                                               Case 23-31455-dwh11                             Doc 1             Filed 07/03/23
   POLVORA ADVERTISING INC                                                          XX-XXXXXXX
K-1 Statement (Sch K-1, Form 1065)
Line 20 - Other Information

Section 199A Information (Code Z)
   Income Items                                                                  Non-SSTB             SSTB
       Ordinary Income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -74,818
                                                                                         . . . . . . . . . . .0 . . . . . .
   Additional Information
      Section 199A W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . 473,447
                                                                                         . . . . . . . . . . . 0. . . . . .
      Section 199A unadjusted basis . . . . . . . . . . . . . . . . . . . . . . . . . . 166,559
                                                                                          . . . . . . . . . . . 0. . . . . .




                             Case 23-31455-dwh11           Doc 1    Filed 07/03/23
LOTUS DIGITAL LLC
201 CROSS ST
MIAMI SPRINGS, FL 33166



June 13, 2022

MOROCH HOLDINGS INC
3625 NORTH HALL STREET SUITE 1100
DALLAS, TX 75219




RE: LOTUS DIGITAL LLC
    XX-XXXXXXX

Enclosed is your current year Schedule K-1 (Form 1065) for the above-referenced account. The amounts
shown are your distributive share of the partnership's income, deductions and credits incurred during the
year and are to be reported on your income tax return. The amounts may differ from the distributions you
actually received during the year. The difference may be due to a number of factors including the allocation
of fees or other deductions, exclusion of tax-exempt income, or a variance between your taxable year and
that of the partnership.


If applicable, state tax information has been attached to the K-1. Since income tax requirements vary from
state to state, the presentation of the state tax information will be different for each state. The information
provided is based on your state of residence from our records. If information for your state of residence is
not listed, please contact us at the number below.


If you have any questions concerning this information, please call


Sincerely,




                        Case 23-31455-dwh11             Doc 1      Filed 07/03/23
                                                                                                                                                                                            651121
                                                                                                                         Final K-1                       Amended K-1                    OMB No. 1545-0123

Schedule K-1                                                                                                       Part III          Partner's Share of Current Year Income,
(Form 1065)                                                                                2021                                      Deductions, Credits, and Other Items
Department of the Treasury                                                                                    1     Ordinary business income (loss)            14      Self-employment earnings (loss)
Internal Revenue Service                                              For calendar year 2021, or tax year                                            -11,126
       beginning                                                      ending                                  2     Net rental real estate income (loss)

Partner's Share of Income, Deductions,                                                                                                                         15      Credits
                                                                                                              3     Other net rental income (loss)
Credits, etc.       See back of form and separate instructions.

   Part I                Information About the Partnership                                                    4a    Guaranteed payments for services
  A     Partnership's employer identification number
  XX-XXXXXXX                                                                                                  4b    Guaranteed payments for capital            16      Schedule K-3 is attached if
  B     Partnership's name, address, city, state, and ZIP code                                                                                                         checked . . . . . . . . . . . . . . . .
                                                                                                              4c    Total guaranteed payments                  17      Alternative minimum tax (AMT) items

  LOTUS DIGITAL LLC
  201 CROSS ST                                                                                                5     Interest income
  MIAMI SPRINGS, FL 33166
  C     IRS center where partnership filed return                          e-file                             6a    Ordinary dividends
  D              Check if this is a publicly traded partnership (PTP)
   Part II               Information About the Partner                                                        6b    Qualified dividends                        18      Tax-exempt income and
  E     Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)        Partner: 4                                                             nondeductible expenses
  XX-XXXXXXX                                                                                                  6c    Dividend equivalents
  F     Name, address, city, state, and ZIP code for partner entered in E. See instructions.
  MOROCH HOLDINGS INC                                                                                         7     Royalties
  3625 NORTH HALL STREET SUITE 1100
  DALLAS, TX 75219                                                                                            8     Net short-term capital gain (loss)
                                                                                                                                                               19      Distributions
  G              General partner or LLC                                X     Limited partner or other LLC     9a    Net long-term capital gain (loss)
                 member-manager                                              member

  H1    X        Domestic partner                                            Foreign partner                  9b    Collectibles (28%) gain (loss)
  H2           If the partner is a disregarded entity (DE), enter the partner's:                                                                               20      Other information
        TIN                                               Name                                                9c    Unrecaptured section 1250 gain
  I1    What type of entity is this partner?                    Corporation                                                                                    Z* See Attached Stmt
  I2    If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here                                 10    Net section 1231 gain (loss)
  J     Partner's share of profit, loss, and capital (see instructions):
                              Beginning                                                    Ending             11    Other income (loss)
        Profit                               10.000000%                                       10.000000%
        Loss                                 10.000000%                                       10.000000%
        Capital                              10.000000%                                       10.000000%
        Check if decrease is due to sale or exchange of partnership interest . . . . . . .12. . Section
                                                                                                . . . .179
                                                                                                         . deduction
                                                                                                           . . . . . . . . . . . . 21. . Foreign
                                                                                                                                         . . . .taxes
                                                                                                                                                  . . paid
                                                                                                                                                       . . or. accrued
                                                                                                                                                                . . . . . . .
  K     Partner's share of liabilities:
                                            Beginning                                       Ending            13    Other deductions
        Nonrecourse . . $. . . . . . . . 153,332
                                          . . . . . $ . . . . . . . . 117,713
                                                                       . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
        Qualified nonrecourse
        financing . . . . . $. . . . . . . . . 160,182
                                               . . . . . . $. . . . . . . . . .137,901
                                                                                . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
        Recourse . . . $. . . . . . . . . 2,825
                                          . . . . $. . . . . . . . . 2,653
                                                                     . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
        Check this box if Item K includes liability amounts from lower tier partnerships.

  L                                  Partner's Capital Account Analysis                                       22         More than one activity for at-risk purposes*
        Beginning capital account . . . . . . $ . . . . . . . . . . .416,771
                                                                      . . . . . .23. . . . More
                                                                                            . . than
                                                                                                 . . one
                                                                                                     . . activity
                                                                                                          . . . for
                                                                                                                  . passive
                                                                                                                    . . . .activity
                                                                                                                             . . .purposes*
                                                                                                                                    . . . . . . . . . . .
        Capital contributed during the year . . . $. . . . . . . . . . . . . . . . . .*See
                                                                                       . . .attached
                                                                                              . . . . statement
                                                                                                      . . . . . . for
                                                                                                                    . .additional
                                                                                                                         . . . . . information.
                                                                                                                                     . . . . . . . . . . . .
        Current year net income (loss) . . . . . $ . . . . . . . . . . . -11,126
                                                                          . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
        Other increase (decrease) (attach explanation)            $                                  36,857
        Withdrawals and distributions . . . . . $. (. . . . . . . . . . . . . . ) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
        Ending capital account . . . . . . . $. . . . . . . . . . . 442,502
                                                                     . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

  M     Did the partner contribute property with a built-in gain (loss)?
                 Yes                 X     No          If "Yes," attach statement. See instructions.

  N              Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
        Beginning . . . . . . . . . . . . . $. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
       Ending . . . . . . . . . . . . . . $. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
For Paperwork Reduction Act Notice, see the Instructions for Form 1065. www.irs.gov/Form1065                              Schedule K-1 (Form 1065) 2021
HTA
                                                               Case 23-31455-dwh11                            Doc 1             Filed 07/03/23
   MOROCH HOLDINGS INC                                                             XX-XXXXXXX
K-1 Statement (Sch K-1, Form 1065)
Line 20 - Other Information

Section 199A Information (Code Z)
   Income Items                                                                  Non-SSTB            SSTB
       Ordinary Income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -11,126
                                                                                        . . . . . . . . . . .0 . . . . . .
   Additional Information
      Section 199A W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . .70,401
                                                                                          . . . . . . . . . . 0. . . . . .
      Section 199A unadjusted basis . . . . . . . . . . . . . . . . . . . . . . . . . . 24,767
                                                                                        . . . . . . . . . . . 0. . . . . .




                             Case 23-31455-dwh11          Doc 1    Filed 07/03/23
                                                                Depreciation and Amortization
          4562
                                                                                                                                                           OMB No. 1545-0172
Form
                                                          (Including Information on Listed Property)                                                         2021
Department of the Treasury                                                Attach to your tax return.                                      Attachment
Internal Revenue Service     (99)                   Go to www.irs.gov/Form4562 for instructions and the latest information.               Sequence No. 179
Name(s) shown on return                                      Business or activity to which this form relates              Identifying number
LOTUS DIGITAL LLC                                               1065 - WEB DEVELOPER                                      XX-XXXXXXX
Part I            Election To Expense Certain Property Under Section 179                                   If you have more than one business or activity with
                 Note: If you have any listed property, complete Part V before you complete Part I.                  Section 179, see 179 Summary.
 1    Maximum amount (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1 . . . .
 2    Total cost of section 179 property placed in service (see instructions). . . . . . . . . . . . . . . . . . . . . . 2. . . . . . . . . .
 3    Threshold cost of section 179 property before reduction in limitation (see instructions) . . . . . . . . . . . . . . . .3 . . . . . . . . .
 4    Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- . . . . . . . . . . . . . . . . . . . .4 . . . . . . 0. . .
 5    Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing
      separately, see instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5. . . . . . 0                               . . .
 6                              (a) Description of property                                   (b) Cost (business use only)              (c) Elected cost




7 Listed property. Enter the amount from line 29 . . . . . . . . . . . . . . . . . . . . . . 7 . . . . . . . . . . . . . . . . . .
8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 . . . . . . . . . . . . . . . .8 . . . . . . 0. . .
9 Tentative deduction. Enter the smaller of line 5 or line 8 . . . . . . . . . . . . . . . . . . . . . . . . . . . 9 . . . . . . 0. . .
10 Carryover of disallowed deduction from line 13 of your 2020 Form 4562. . . . . . . . . . . . . . . . . . . . . 10            . . . . . . . . .
11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5. See instructions . . . . . 11
                                                                                                                                . . . . . . . . . .
12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11 . . . . . . . . . . . . . . . 12       . . . . . . .0. . .
13 Carryover of disallowed deduction to 2022. Add lines 9 and 10, less line 12 . . . . . . . . . . 13     . . . . . . . . . .0 . . . . . . . . .
Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
Part II           Special Depreciation Allowance and Other Depreciation (Don't include listed property. See instructions.)
14 Special depreciation allowance for qualified property (other than listed property) placed in service
   during the tax year. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14. . . . . . . . .
15 Property subject to section 168(f)(1) election . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .15. . . . . . . . .
16 Other depreciation (including ACRS) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .16. . . . . . . . .
Part III          MACRS Depreciation (Don't include listed property. See instructions.)
                                                                    Section A
17 MACRS deductions for assets placed in service in tax years beginning before 2021 . . . . . . . . . . . . . . . .17. . . . .2,976
                                                                                                                                . .
18 If you are electing to group any assets placed in service during the tax year into one or more general
   asset accounts, check here . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                             Section B - Assets Placed in Service During 2021 Tax Year Using the General Depreciation System
                                                       (b) Month and   (c) Basis for depreciation
           (a) Classification of property                                                             (d) Recovery
                                                        year placed    (business/investment use                        (e) Convention   (f) Method         (g) Depreciation deduction
                                                                                                          period
                                                         in service     only—see instructions)
19 a       3-year property
   b       5-year property
   c       7-year property
   d      10-year property
   e      15-year property
   f      20-year property
   g      25-year property                                                       25 yrs.                       S/L
   h      Residential rental                                                    27.5 yrs.       MM             S/L
          property                                                              27.5 yrs.       MM             S/L
      i   Nonresidential real                                                    39 yrs.        MM             S/L
          property                                                                              MM             S/L
                     Section C - Assets Placed in Service During 2021 Tax Year Using the Alternative Depreciation System
20 a      Class life                                                                                           S/L
   b      12-year                                                                12 yrs.                       S/L
   c      30-year                                                                30 yrs.        MM             S/L
   d      40-year                                                                40 yrs.        MM             S/L
Part IV           Summary (See instructions.)
21 Listed property. Enter amount from line 28 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .21. . . . 12,038         . . . . .
22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21. Enter
   here and on the appropriate lines of your return. Partnerships and S corporations—see instructions . . . . . . . . . . 22. . . . 15,014
                                                                                                                                     . . . . .
23 For assets shown above and placed in service during the current year, enter the
   portion of the basis attributable to section 263A costs . . . . . . . . . . . . . . . . . . . 23        . . . . . . . . . . . . . . . . . .
For Paperwork Reduction Act Notice, see separate instructions.                                                                                              Form 4562 (2021)
HTA

                                                   Case 23-31455-dwh11                     Doc 1          Filed 07/03/23
Form 4562 (2021)                                                                     LOTUS DIGITAL LLC                                                              XX-XXXXXXX               Page   2
Part V                Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
                      entertainment, recreation, or amusement.)
                   Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
                   24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
                 Section A—Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
24a Do you have evidence to support the business/investment use claimed?                           Yes          No         24b If "Yes," is the evidence written?                Yes           No
              (a)                              (b)              (c)               (d)                      (e)                 (f)              (g)               (h)                  (i)
                                                             Business/                           Basis for depreciation
       Type of property                 Date placed       investment use   Cost or other basis   (business/ investment     Recovery          Method/         Depreciation   Elected section 179
      (list vehicles first)                 in service      percentage                                 use only)             period         Convention        deduction               cost
 25 Special depreciation allowance for qualified listed property placed in service during
    the tax year and used more than 50% in a qualified business use. See instructions . . . . . . . . 25
                                                                                                      . . . . . . . . . . . . . . . . .
 26 Property used more than 50% in a qualified business use:
COMPUTER EQUIP SOFTWARE 9/13/2016         100.00%           25,000               25,000   5    200DB - HY        1,440
FURNITURE AND EQUIPMENT 9/13/2016         100.00%          184,000              184,000   5    200DB - HY       10,598

 27    Property used 50% or less in a qualified business use:
                                                     %                                                                                  S/L –
                                                     %                                                                                  S/L –
                                                     %                                                                                  S/L –
 28    Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 . . . .                                        . . . . 28. . . . .12,038
                                                                                                                                                             . . . . . . . . . . . .
 29    Add amounts in column (i), line 26. Enter here and on line 7, page 1 . . . . . . . . . .                                          . . . . . . . . . 29 . . . . . . . . .0 . .
                                                   Section B—Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.
                                                                                 (a)                  (b)                   (c)               (d)                (e)                  (f)
 30    Total business/investment miles driven during                           Vehicle 1            Vehicle 2             Vehicle 3         Vehicle 4          Vehicle 5           Vehicle 6

       the year (don't include commuting miles) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 31    Total commuting miles driven during the year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 32    Total other personal (noncommuting)
       miles driven . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 33    Total miles driven during the year. Add
       lines 30 through 32             . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 34    Was the vehicle available for personal           Yes    No     Yes    No    Yes    No    Yes    No    Yes   No     Yes     No
       use during off-duty hours? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 35    Was the vehicle used primarily by a more than
       5% owner or related person? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 36    Is another vehicle available for personal use? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                         Section C—Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
more than 5% owners or related persons. See instructions.
 37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by          NoYes
       your employees? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 38    Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
       employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners . . . . . . . . . . . . . . . . . . . . .
 39    Do you treat all use of vehicles by employees as personal use? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 40    Do you provide more than five vehicles to your employees, obtain information from your employees about the
       use of the vehicles, and retain the information received? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 41    Do you meet the requirements concerning qualified automobile demonstration use? See instructions . . . . . . . . . . . . . . . . . . . . . . . .
       Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
Part VI               Amortization
                                      (a)                                            (b)                        (c)                   (d)                    (e)                       (f)
                                                                                                                                                         Amortization
                              Description of costs                          Date amortization        Amortizable amount          Code section             period or         Amortization for this year
                                                                                 begins                                                                  percentage

 42 Amortization of costs that begins during your 2021 tax year (see instructions):
Closing Costs                                          12/31/2021                   20,833                                                                 15.0                                 116

 43    Amortization of costs that began before your 2021 tax year . . . . . . . . . . . . . . . . . . . . . . . 43   . . . . . 221,190
                                                                                                                               . . . . . .
 44    Total. Add amounts in column (f). See the instructions for where to report . . . . . . . . . . . . . . . . . 44
                                                                                                                    . . . . . .221,306
                                                                                                                                 . . . . .
                                                                                                                                                                            Form 4562 (2021)

                                                         Case 23-31455-dwh11                         Doc 1            Filed 07/03/23
LOTUS DIGITAL LLC                                                                                                                                             XX-XXXXXXX




          Line 20 (1065) - Other Deductions
           1 Travel, Meals and Entertainment
               a Travel . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1a             . . . . . . 730
                                                                                                                                  . . . . . . . .
               b Meals, subject to 100% limit (Business meals after December 31, 2020) . . . . . 1b
                                                                                                  . . . . . . .140
                                                                                                                 . . . . . . . . . . . . . . .
               g Subtract line f from lines b, c, d and e . . . . . . . . . . . . . . . . . . . . . . . . . . .1g. . . . . . 140   . . . . . . .
           2 From Form 4562 - Amortization . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2. . . . 221,306     . . . . . . . . .
           3 Bank charges                                                                                            3          1,106
           4 Dues and subscriptions                                                                                  4            193
           5 Insurance                                                                                               5          2,900
           6 Miscellaneous                                                                                           6          1,951
           7 Postage                                                                                                 7            255
           8 Sales and promotion expenses                                                                            8          8,937
           9 Security                                                                                                9            493
           10 Supplies                                                                                             10           1,190
           11 Telephone                                                                                            11           5,528
           12 Utilities                                                                                            12           1,664
           13 Software                                                                                             13          22,664
           14 Hosting                                                                                              14          59,373
           15 Insurance other                                                                                      15           6,615
           16 Insurance- Commercial Package                                                                        16           5,136
           17 Total other deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17         . . . . . 340,181
                                                                                                                               . . . . . . . . .




          Line 20c, Sch K (1065) - Other Information
          Section 199A Information
               Income Items                                                                  Non-SSTB            SSTB
                   Ordinary Income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .-111,255
                                                                                                    . . . . . . . . . . .0 . . . . . .
               Additional Information
                  Section 199A W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . 704,011
                                                                                                     . . . . . . . . . . . 0. . . . . .
                  Section 199A unadjusted basis . . . . . . . . . . . . . . . . . . . . . . . . . . 247,672
                                                                                                      . . . . . . . . . . . 0. . . . . .




          Line 13, Sch L (1065) - Other Assets
                                                                                                                                 Beginning       Ending
           1 OTHER RECEIVABLE: GF                                                       1        248,872          248,872
           2 DUE FROM RB CB                                                             2         46,751           46,370
           3 Total other assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3. . . . 295,623
                                                                                                 . . . . . . . . .295,242
                                                                                                                    . . . . . . . . .




          Line 17, Sch L (1065) - Other Current Liabilities
                                                                                                                                 Beginning       Ending
           1   ACCRUED PAYROLL AND PAYROLL TAXES                                                                        1                           46,510
           2   DEPT OF THE TREASURY                                                                                     2          11,490
           3   CLIENT DEPOSITS                                                                                          3          20,590
           4   CC PAYABLE                                                                                               4           3,048           20,356
           5   Total other current liabilities . . . . . . . . . . . . . . . . . . . . . . . .                          5. . . . . 35,128
                                                                                                                                    . . . . . . . . 66,866
                                                                                                                                                    . . . . . . . . .




          Line 20, Sch L (1065) - Other Liabilities
                                                                                                                                 Beginning       Ending
           1   OTHER PAYABLES GF                                                                                        1          372,540           372,540
           2   GF - SUBORDINATED 1                                                                                      2          146,403           130,860
           3   GF - SUBORDINATED 2                                                                                      3          461,002           398,703
           4   LOAN - DUE TO POLVORA                                                                                    4          185,068            58,261
           5   PPP SBA LOAN                                                                                             5          183,276
           6   SBA LOAN                                                                                                 6          149,900           149,900
           7   Total other liabilities . . . . . . . . . . . . . . . . . . . . . . . . . . .                            7. . . . 1,498,189
                                                                                                                                   . . . . . . . . 1,110,264
                                                                                                                                                    . . . . . . . . . .



                                           Case 23-31455-dwh11                           Doc 1           Filed 07/03/23
                                          © 2022 Universal Tax Systems Inc. and/or its affiliates and licensors. All rights reserved.
LOTUS DIGITAL LLC                                                                                                                                          XX-XXXXXXX




          Line 4, Sch M-1 (1065) - Expenses Recorded on Books not Included on Sch K
           1 Life Insurance                                                                                1           1,515
           2 Total expenses on books not on Sch K . . . . . . . . . . . . . . . . . . . . . . . . . . . . .2 . . . . . 1,515
                                                                                                                        . . . . . . . .




          Line 6, Sch M-1 (1065) - Income Recorded on Books not Included on Sch K
           1   SBA LOAN RELIEF PAYMENTS                                                                                                 1          14,268
           2   PPP LOAN FORGIVENESS-1                                                                                                   2         189,349
           3   PPP LOAN FORGIVENESS-2                                                                                                   3         166,469
           4   Total income on books not on Sch K . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            .4 . . . . 370,086
                                                                                                                                                   . . . . . . . . .




          Line 4, Sch M-2 (1065) - Other Increases
           1   SBA LOAN RELIEF PAYMENTS                                                                    1           14,268
           2   PPP LOAN FORGIVENESS-1                                                                      2         189,349
           3   PPP LOAN FORGIVENESS-2                                                                      3         166,469
           4   Total other increases . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4 . . . . 370,086
                                                                                                                      . . . . . . . . .




          Line 7, Sch M-2 (1065) - Other Decreases
           1 Life Insurance                                                                               1           1,515
           2 Total other decreases   . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .2 . . . . . 1,515
                                                                                                                       . . . . . . . .




                                          Case 23-31455-dwh11                           Doc 1           Filed 07/03/23
                                         © 2022 Universal Tax Systems Inc. and/or its affiliates and licensors. All rights reserved.
LOTUS DIGITAL LLC                                                                                                                                                                                                                         XX-XXXXXXX




Form 4562 Statement - 1065                                                                                                                                                                                                             12/31/2021
    LOTUS DIGITAL LLC       XX-XXXXXXX
                                               Date               Business   Cost or                                                                                                             Con-     Prior Accum.    2021           2021
      Item           Description of           Placed      Asset     Use       Other         Sec. 179                           Special         Salvage          Recovery      Recovery          vention     Deprec.,                    Accum.
       No.             Property             In Service    Code       %        Basis         Deduction          Credit         Allowance         Value            Basis         Period  Method    Code     179, Bonus     Deprec.        Deprec.
    Depreciation Detail
    MACRS deductions for prior years (Line 17)
           Leasehold Improvements        9/13/2016        R-7     100.00%        15,000                 0                0                0               0          15,000    15.0   SL/GDS     HY              4,504        1,000          5,505
           TELEPHONE EQUIPMENT           9/13/2016        F-11    100.00%        15,000                 0                0                0               0          15,000     7.0   200DB      HY             11,656        1,338         12,994
           FURNITURE & EQUIPMENT-LOTUS   9/13/2016        F-11    100.00%         3,923                 0                0                0               0           3,923     7.0   200DB      HY              3,048          350          3,398
           FURNITURE & EQUIPMENT 10/6/2016                F-11    100.00%         3,233                 0                0                0               0           3,233     7.0   200DB      HY              2,512          288          2,800

             Total MACRS deductions for prior years (Line 17)                    37,156                 0                0                0               0          37,156                                     21,720        2,976         24,697


             Subtotal Depreciation                                               37,156                 0                0                0               0          37,156                                     21,720        2,976         24,697

    Listed Property
    Listed property with more than 50% business use (Line 25 and 26)
             COMPUTER EQUIP SOFTWARE     9/13/2016     F-4    100.00%            25,000                 0                0                0               0          25,000     5.0    200DB     HY             23,560       1,440          25,000
             FURNITURE AND EQUIPMENT9/13/2016          F-4    100.00%           184,000                 0                0                0               0         184,000     5.0    200DB     HY            173,402      10,598         184,000

             Total listed prop with > 50% business use                          209,000                 0                0                0               0         209,000                                    196,962      12,038         209,000

             Subtotal Listed Property                                           209,000                 0                0                0               0         209,000                                    196,962      12,038         209,000

    Total Amortization (Line 44)
             GOODWILL                        9/13/2016    Z-9     100.00%       463,113                 0                0                0               0         463,113    15.0      SL      FM            133,787      30,874         164,661
             Other Acquisition Assets        9/13/2016    Z-8     100.00%        84,000                 0                0                0               0          84,000    15.0      SL      FM             24,267       5,600          29,867
             SOFTWARE                        9/13/2016    Z-8     100.00%     2,700,000                 0                0                0               0       2,700,000    15.0      SL      FM            780,000     180,000         960,000
             CLOSING COSTS                   9/13/2016    Z-9     100.00%        70,736                 0                0                0               0          70,736    15.0      SL      FM             20,436       4,716          25,152
             Closing Costs                  12/31/2021    Z-16    100.00%        20,833                 0                0                0               0          20,833    15.0      SL      FM                  0         116             116

             Total Amortization (Line 44)                                     3,338,682                 0                0                0               0       3,338,682                                    958,490     221,306       1,179,796

             Total Depreciation and Amortization                              3,584,838                 0                0                0               0       3,584,838                                  1,177,172     236,320       1,413,493


    Form 4562 Reconciliation
             Annual depreciation and amortization (including Sec 168(f) elected amounts)                                                                                                                                   236,320
             Special allowance except listed property (Line 14) - current year assets                                                                                                                                              0
             Special allowance - listed property (Line 25) - current year assets                                                                                                                                                   0
                Section 179 amount claimed (includes prior year disallowed)                                                                                                                                          0
                Section 179 amount carried forward to future year                                                                                                                                                    0
             Section 179 deduction (Line 12) reported on Schedule K                                                                                                                                                                0
             Less amortization included in total annual depreciation and amortization (Line 44)                                                                                                                            221,306
             Form 4562 , Line 22                                                                                                                                                                                            15,014




                                                                               Case 23-31455-dwh11                           Doc 1            Filed 07/03/23
                                                                              © 2022 Universal Tax Systems Inc. and/or its affiliates and licensors. All rights reserved.
LOTUS DIGITAL LLC                                                                                                                                                 XX-XXXXXXX




                Summary of Unadjusted Basis of Qualified Property (4562)                                                                             12/31/2021

                    Summary of Qualified Property by Activity
                                                                                                                       Unadjusted
                          Activity                                                                                    Cost or Basis
                      1   1065 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 247,672
                                                                                                                             . . . . . . . . . .



                    Detail of Qualified Property
                                                               Date In  Recovery                       Years in        Total Cost   Business/Time  Unadjusted
                           Activity        Asset Description   Service   Period                        Service          or Basis     Use Percent  Cost or Basis
                      2   1065        COMPUTER EQUIP SOFTWARE 9/13/2016       5.0                              6             25,000       100.00%        25,000
                      3   1065        FURNITURE AND EQUIPMENT9/13/2016        5.0                              6           184,000        100.00%       184,000
                      4   1065        Leasehold Improvements  9/13/2016      15.0                              6             15,000       100.00%        15,000
                      5   1065        TELEPHONE EQUIPMENT     9/13/2016       7.0                              6             15,000       100.00%        15,000
                      6   1065        FURNITURE & EQUIPMENT 10/6/2016         7.0                              6              3,233       100.00%         3,233
                      7   1065        FURNITURE & EQUIPMENT-LOTUS
                                                              9/13/2016       7.0                              6              3,923       100.00%         3,923
                      8   1065        FURNITURE AND OFFICE EQUIP
                                                             12/31/2017       7.0                              5              1,516       100.00%         1,516




                                             Case 23-31455-dwh11                           Doc 1           Filed 07/03/23
                                            © 2022 Universal Tax Systems Inc. and/or its affiliates and licensors. All rights reserved.
LOTUS DIGITAL LLC                                                                                                                                                                                                                                                                                                                     XX-XXXXXXX




          Line 9 (1065) - Salaries and Wages
           1    Salaries . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1 . . . . 694,343  . . . . . . . . . . . . . . . . .
           2    Wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2. . . . . . . . . . . . . . . . . . . . . .
           3    LOTUS                                                                              3
           4    Total salaries and wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .4 . . . . 694,343   . . . . . . . . .
                Salaries and wages reported elsewhere on return:
           5    Amounts included in Cost of Goods Sold . . . . . . . . . . . . . . . . . . . .5 . . . . . . .0 . . . . . . . . . . . . . .
           6    Elective contributions to a section 401(k) cash or deferred
                arrangement, or amounts contributed under a salary reductions SEP
                agreement or a SIMPLE IRA plan . . . . . . . . . . . . . . . . . . . . . . 6. . . . . . . . . . . . . . . . . . . . . .
           7    Total salaries and wages reported elsewhere on return . . . . . . . . . . . . . . . . . . . . . . 7. . . . . . . 0. . . . . .
                Less employment credits:
           8    From Form 5884 - Work Opportunity Credit . . . . . . . . . . . . . . . . . . 8. . . . . . . 0. . . . . . . . . . . . . . .
           9    From Form 5884-A - Employee Retention Credit . . . . . . . . . . . . . . . . .9 . . . . . . .0 . . . . . . . . . . . . . .
           10   From Form 8844 - Empowerment Zone Employment Credit . . . . . . . . . . . 10      . . . . . . . .0 . . . . . . . . . . . . . .
           11   From Form 8845 - Indian Employment Credit . . . . . . . . . . . . . . . . . 11     . . . . . . . 0. . . . . . . . . . . . . . .
           12   From Form 8994 - Employer Credit for Paid Family and Medical Leave . . . . . . . 12
                                                                                                  . . . . . . . .0 . . . . . . . . . . . . . .
           13                                                                                     13
           14                                                                                     14
           15                                                                                     15
           16   Total employment credits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16        . . . . . . . .0 . . . . . .
           17   Reduction of expenses for offsetting credits . . . . . . . . . . . . . . . . . . . . . . . . . . .17. . . . . . . . . . . . .
           18   Total salaries and wages less employment credits and expense reductions . . . . . . . . . . . . . .18. . . . 694,343
                                                                                                                               . . . . . . . . .




          Line 14 (1065) - Taxes and Licenses
           1    Payroll tax . . . . .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      . 1.     .      .      .      . 17,945
                                                                                                                                                                                                                                                                                                                    . . .     .      .      .      .      . .
           2    Sub Total . . . . . .       .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      . 2.     .      .      .      . 17,945
                                                                                                                                                                                                                                                                                                                     . . .     .      .      .      .      .
           3    Licenses . . . . . .         .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      . 3.     .      .      .      . . 614
                                                                                                                                                                                                                                                                                                                        . .     .      .      .      .      .
           4    Total taxes and licenses      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .      .     . 4.      .      .      .     .18,559
                                                                                                                                                                                                                                                                                                                      . . .      .      .      .      .      .




                                                           Case 23-31455-dwh11                                                                              Doc 1                             Filed 07/03/23
LOTUS DIGITAL LLC                                                                                                                          XX-XXXXXXX




          Sch L (1065) - Balance Sheets per Books
                                                 Assets                                                 Beginning            Ending
           1    Cash . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1 . . . . 148,953      . . . . . . . . . 61,040
                                                                                                                                    . . . . . . . .
           2a   Trade notes and accounts receivable . . . . . . . . . . . . . . . . . . . . 2a      . . . . . 76,313
                                                                                                                 . . . . . . . . .56,694
                                                                                                                                      . . . . . . . .
          2b    Less allowance for bad debts . . . . . . . . . . . . . . . . . . . . . . . 2b      . . . . . . . . . . . . . . . . . . . . . .
           2c   Net trade notes and accounts receivable . . . . . . . . . . . . . . . . . . . 2c   . . . . . 76,313
                                                                                                                . . . . . . . . .56,694
                                                                                                                                     . . . . . . . .
           3    Inventories . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .3 . . . . . . . 0 . . . . . . . . 0. . . . . .
           4    U.S. government obligations . . . . . . . . . . . . . . . . . . . . . . . .4 . . . . . . . . . . . . . . . . . . . . .
           5    Tax-exempt securities . . . . . . . . . . . . . . . . . . . . . . . . . . 5. . . . . . . . . . . . . . . . . . . . . .
           6    Other current assets . . . . . . . . . . . . . . . . . . . . . . . . . . . 6 . . . . . . . 0. . . . . . . . 0            . . . . . .
           7a   Loans to partners (or persons related to partners) . . . . . . . . . . . . . . . .7a. . . . . . . . . . . . . . . . . . . . .
          7b    Mortgage and real estate loans . . . . . . . . . . . . . . . . . . . . . . 7b     . . . . . . . . . . . . . . . . . . . . . .
           8    Other investments . . . . . . . . . . . . . . . . . . . . . . . . . . . .8 . . . . . . . 0. . . . . . . . 0. . . . . .
           9a   Buildings and other depreciable assets . . . . . . . . . . . . . . . . . . . 9a   . . . . . 247,672
                                                                                                               . . . . . . . . 247,672
                                                                                                                                  . . . . . . . . .
          9b    Less accumulated depreciation . . . . . . . . . . . . . . . . . . . . . . 9b      . . . . . 220,198
                                                                                                               . . . . . . . . 235,213
                                                                                                                                  . . . . . . . . .
           9c   Net buildings and other depreciable assets . . . . . . . . . . . . . . . . . . 9c. . . . . 27,474 . . . . . . . . 12,459
                                                                                                                                    . . . . . . . . .
          10a   Depletable assets . . . . . . . . . . . . . . . . . . . . . . . . . . . 10a      . . . . . . . . . . . . . . . . . . . . . .
          10b   Less accumulated depletion . . . . . . . . . . . . . . . . . . . . . . . 10b     . . . . . . . . . . . . . . . . . . . . . .
          10c   Net depletable assets . . . . . . . . . . . . . . . . . . . . . . . . . . 10c      . . . . . . . .0 . . . . . . . . 0. . . . . .
           11   Land (net of any amortization) . . . . . . . . . . . . . . . . . . . . . . . 11. . . . . . . 0. . . . . . . . .0 . . . . . .
          12a   Intangible assets (amortizable only) . . . . . . . . . . . . . . . . . . . . 12a . . . . .3,317,849
                                                                                                              . . . . . . . . 3,338,682
                                                                                                                                 . . . . . . . . .
          12b   Less accumulated amortization . . . . . . . . . . . . . . . . . . . . . . 12b     . . . . . 958,490
                                                                                                               . . . . . . . .1,179,796
                                                                                                                                  . . . . . . . . .
          12c   Net intangible assets . . . . . . . . . . . . . . . . . . . . . . . . . . 12c     . . . . 2,359,359
                                                                                                            . . . . . . . . .2,158,886
                                                                                                                                  . . . . . . . . .
           13   Other assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .13. . . . 295,623     . . . . . . . . . 295,242
                                                                                                                                    . . . . . . . .
           14   Total assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14         . . . . 2,907,722
                                                                                                             . . . . . . . . 2,584,321
                                                                                                                                . . . . . . . . . .
                                            Liabilities and Capital
           15   Accounts payable . . . . . . . . . . . . . . . . . . . . . . . . . . . .15. . . . . 28,248        . . . . . . . . 26,530
                                                                                                                                    . . . . . . . .
           16   Mortgages, notes, bonds payable in less than 1 year . . . . . . . . . . . . . . 16. . . . . . . . . . . . . . . . . . . . . .
           17   Other current liabilities . . . . . . . . . . . . . . . . . . . . . . . . . . 17. . . . . 35,128 . . . . . . . . 66,866
                                                                                                                                   . . . . . . . . .
           18   All nonrecourse loans . . . . . . . . . . . . . . . . . . . . . . . . . . 18       . . . . . . . . . . . . . . . . . . . . . .
          19a   Loans from partners (or persons related to partners) . . . . . . . . . . . . . . 19a
                                                                                                 . . . . . . . . . . . . . . . . . . . . . .
          19b   Mortgages, notes, bonds payable in 1 year or more . . . . . . . . . . . . . . .19b  . . . . 1,601,820
                                                                                                             . . . . . . . . 1,379,008
                                                                                                                                . . . . . . . . . .
           20   Other liabilities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20. . . . 1,498,189
                                                                                                              . . . . . . . . 1,110,264
                                                                                                                                . . . . . . . . . .
           21   Partners' capital accounts . . . . . . . . . . . . . . . . . . . . . . . . .21. . . . -255,663 . . . . . . . . . .1,653. . . . . . .
           22   Total liabilities and capital . . . . . . . . . . . . . . . . . . . . . . . . .22. . . .2,907,722
                                                                                                               . . . . . . . . 2,584,321
                                                                                                                                 . . . . . . . . .

                End of year balance sheet out of balance by . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .0 . . . . . .




                                            Case 23-31455-dwh11             Doc 1      Filed 07/03/23
Assets by Classification - 1065                                                                                                                                                                                    12/31/2021
   LOTUS DIGITAL LLC XX-XXXXXXX
                   Description of                 Date              Business       Cost or                                                                                                            Con-         Prior Accum.      2021          2021
     Item             Property                   Placed     Asset     Use           Other        Sec. 179                            Special         Salvage          Recovery     Recovery          vention         Deprec.,                     Accum.
      No.   "**" indicates DISPOSED            In Service   Code       %            Basis        Deduction          Credit          Allowance         Value            Basis        Period  Method    Code         179, Bonus       Deprec.       Deprec.

   5-yr Computers and peripherals (listed property)
           COMPUTER EQUIP SOFTWARE       9/13/2016          F-4     100.00%           25,000                 0               0                  0              0          25,000     5.0    200DB     HY                 23,560         1,440        25,000
           FURNITURE AND EQUIPMENT9/13/2016                 F-4     100.00%          184,000                 0               0                  0              0         184,000     5.0    200DB     HY                173,402        10,598       184,000
            Total: 5-yr Computers (listed)                                           209,000                 0               0                  0              0         209,000                                        196,962        12,038       209,000

   7-yr Office furniture, fixtures and equipment
             TELEPHONE EQUIPMENT            9/13/2016       F-11    100.00%           15,000                 0               0                0                0          15,000     7.0    200DB     HY                 11,656          1,338       12,994
             FURNITURE & EQUIPMENT-LOTUS    9/13/2016       F-11    100.00%            3,923                 0               0                0                0           3,923     7.0    200DB     HY                  3,048            350        3,398
             FURNITURE & EQUIPMENT 10/6/2016                F-11    100.00%            3,233                 0               0                0                0           3,233     7.0    200DB     HY                  2,512            288        2,800
             FURNITURE AND OFFICE EQUIP    12/31/2017       F-11    100.00%            1,516                 0               0            1,516                0               0     7.0    200DB     MQ4                 1,516              0        1,516
            Total: 7-yr Office furn, fixtures, equip                                  23,672                 0               0            1,516                0          22,156                                         18,732          1,976       20,708

   Qualified leasehold improvement property
            Leasehold Improvements     9/13/2016            R-7     100.00%           15,000                 0               0                  0              0          15,000    15.0   SL/GDS     HY                  4,504          1,000         5,505
            Total: Qual LH improve prop                                               15,000                 0               0                  0              0          15,000                                          4,504          1,000         5,505

   Amortization - 195 - Business start-up expenditures
           Other Acquisition Assets       9/13/2016    Z-8          100.00%           84,000                 0               0                  0              0          84,000    15.0      SL      FM                 24,267         5,600        29,867
           SOFTWARE                       9/13/2016    Z-8          100.00%        2,700,000                 0               0                  0              0       2,700,000    15.0      SL      FM                780,000       180,000       960,000
            Total: Amort - 195 - Bus start-up exp                                  2,784,000                 0               0                  0              0       2,784,000                                        804,267       185,600       989,867

   Amortization - 197 - Intangibles (goodwill, etc.)
           GOODWILL                       9/13/2016         Z-9     100.00%          463,113                 0               0                  0              0         463,113    15.0      SL      FM                133,787        30,874       164,661
           CLOSING COSTS                  9/13/2016         Z-9     100.00%           70,736                 0               0                  0              0          70,736    15.0      SL      FM                 20,436         4,716        25,152
            Total: Amort - 197 - Intangible costs                                    533,849                 0               0                  0              0         533,849                                        154,223        35,590       189,813

   Amortization - Other
           Closing Costs                      12/31/2021    Z-16    100.00%           20,833                 0               0                  0              0          20,833    15.0      SL      FM                        0           116         116
            Total: Amort - Other                                                      20,833                 0               0                  0              0          20,833                                                0           116         116

            SubTotals                                                              3,586,354                  0               0           1,516                 0      3,584,838                                      1,178,688       236,320      1,415,009
            Less: Disposed Assets                                              (          0) (               0) (            0) (            0) (              0) (           0)                               (             0) (          0) (           0)
            Ending Totals                                                          3,586,354                  0               0           1,516                 0      3,584,838                                      1,178,688       236,320      1,415,009




                                                                                    Case 23-31455-dwh11                             Doc 1           Filed 07/03/23
Detail Report - 1065                   12/31/2021
   LOTUS DIGITAL LLC      XX-XXXXXXX
                   Description of        Date       Business       Cost or                                                                          Con-         Prior Accum.      2021          2021
     Item             Property         Placed in      Use           Other        Sec. 179            Special        Recovery      Rec              vention         Deprec.,       Current       Accum.
      No.   "**" indicates DISPOSED     Service        %            Basis        Deduction          Allowance        Basis       Period   Method    Code         179, Bonus       Deprec.       Deprec.
           COMPUTER EQUIP SOFTWARE   9/13/2016      100.00%           25,000                 0                0         25,000    5.0     200DB     HY                 23,560         1,440        25,000
           FURNITURE AND EQUIPMENT9/13/2016         100.00%          184,000                 0                0        184,000    5.0     200DB     HY                173,402        10,598       184,000
           GOODWILL                  9/13/2016      100.00%          463,113                 0                0        463,113   15.0       SL      FM                133,787        30,874       164,661
           Leasehold Improvements    9/13/2016      100.00%           15,000                 0                0         15,000   15.0     SL/GDS    HY                  4,504         1,000         5,505
           Other Acquisition Assets  9/13/2016      100.00%           84,000                 0                0         84,000   15.0       SL      FM                 24,267         5,600        29,867
           SOFTWARE                  9/13/2016      100.00%        2,700,000                 0                0      2,700,000   15.0       SL      FM                780,000       180,000       960,000
           TELEPHONE EQUIPMENT       9/13/2016      100.00%           15,000                 0                0         15,000    7.0     200DB     HY                 11,656         1,338        12,994
           FURNITURE & EQUIPMENT 10/6/2016          100.00%            3,233                 0                0          3,233    7.0     200DB     HY                  2,512           288         2,800
           CLOSING COSTS             9/13/2016      100.00%           70,736                 0                0         70,736   15.0       SL      FM                 20,436         4,716        25,152
           FURNITURE & EQUIPMENT-LOTUS
                                     9/13/2016      100.00%            3,923                 0                0          3,923    7.0     200DB     HY                  3,048           350         3,398
           FURNITURE AND OFFICE EQUIP
                                    12/31/2017      100.00%            1,516                 0            1,516              0    7.0     200DB     MQ4                 1,516             0         1,516
           Closing Costs            12/31/2021      100.00%           20,833                 0                0         20,833   15.0       SL      FM                      0           116           116

           SubTotals                                               3,586,354                  0           1,516      3,584,838                                      1,178,688       236,320      1,415,009
           Less: Disposed Assets                               (          0) (               0) (            0) (           0)                               (             0) (          0) (           0)
           Ending Totals                                           3,586,354                  0           1,516      3,584,838                                      1,178,688       236,320      1,415,009




                                                           Case 23-31455-dwh11                       Doc 1        Filed 07/03/23
